Case 2:18-cr-00232-TOR ECF No. 1

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filed 12/18/18 PagelD.1 Page 1 of 83

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff,

V.

WILLIAM OLDHAM MIZE,
SANDRA VICTORIA TALENTO,
WILLIAM OLDHAM MIZE,
ANGELA DAWN TARDY,
RYAN FOLKS PARK,

MISAEL REYES-TAJIMAROA,
JESSICA ALEXANDRA GONZALEZ,
BONNIE JEAN BONNEY,
BRITTANY JO HARRIS,
KIMBERLY RITA BOITO,
CHRISTOPHER JOSEPH
FRANGELLA,

RICHARD RONALD WELLS,
ALEXANDER ARCEO,

RAUL A. GONZALEZ,

TERESA ANN GONZALEZ,
MICHELE LEE SMITH,
MATTHEW DAVID CARTER,
JOSE EVERARDO MEZA-AMEZCUA,
STEPHANIE STOCK,

MICHAEL ADAM WHITE,

INDICTMENT — 1

2:18-CR-232-TOR
INDICTMENT
Vio: 18 U.S.C. §§ 1341, 2
Mail Fraud

(Counts 1 — 8, 10 - 13, 16,
18 — 24, 26 - 72)

18 U.S.C. §§ 1343, 2
Wire Fraud
(Counts 9, 14, 15, 17, 25)

18 U.S.C. §§ 1341, 1343, 1346
Conspiracy to Commit Mail
Fraud and Wire Fraud

(Count 73)

18 U.S.C. §§ 1347, 1349
Conspiracy to Commit Health
Care Fraud

(Count 74)

18 U.S.C. § 1957

Monetary Transactions in
Property Derived from
Specified Unlawful Activity
(Counts 75 — 100)

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JASON ALLAN WESTFALL, and
RANDY CARL SHARP, 18 U.S.C. §§ 1957, 1956(h)
Conspiracy to Conduct
Defendants. Monetary Transactions in
Property Derived from
Specified Unlawful Activity
(Count 101)

Forfeiture Allegations

18 U.S.C. §§ 981(a)(1)(A),
(C); 18 U.S.C. §§ 982(a)(1),
(7); 28 U.S.C. § 2461(c); 21
U.S.C. § 853(p)

The Grand Jury charges:
At all times relevant and material to this Indictment:
INTRODUCTORY ALLEGATIONS
Real Persons and False Names Used
1. Defendant WILLIAM OLDHAM MIZE (hereinafter “MIZE [-1]”)
resided in Spokane County, Washington and Clark County, Nevada. In furtherance

of the scheme and artifice set forth in this Indictment, MIZE [-1] used the following
names: “Phillip Novak,” “Phillip Gonzalez,” “Phillip Boito,” “Bill Babaian,” “Bill
Park,” “William Park,” “William Talento,” “William Westfall,” “Phillip Amezcua,”
“Phillip Smith,” “William Smith,” “Will Smith,” “William Frangella,” “William
Tardy,” “William Sharp,” “Phillip Tardy,” and “Chad Harris.”

2, Defendant SANDRA VICTORIA TALENTO (hereinafter
“TALENTO”) resided in Spokane County, Washington, and Clark County, Nevada.
TALENTO and MIZE [-1] resided together at various times as a married couple. In
furtherance of the scheme and artifice set forth in this Indictment, TALENTO used

the following names: “Victoria Talento,” “Victoria Francis Kramer,” “Rita Victoria

INDICTMENT — 2

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Boito,” “Rita Gonzalez,” “Ryann Sandra Park,” “Eve S. Novak,” and “Elizabeth
Wenzl.”

3. Defendant WILLIAM OLDHAM MIZE (hereinafter “MIZE [-3]”)
resided at various times in Spokane County, Washington, and Clark County,
Nevada. MIZE [-3] is MIZE [-1]’s son. In furtherance of the scheme and artifice
set forth in this Indictment, MIZE [-3] used the following name: “Allan W.
Westfall.”

4, Defendant ANGELA DAWN TARDY (hereinafter “TARDY”) resided
in Clark County, Nevada. TARDY is MIZE’s daughter.

5. Defendant RYAN FOLKS PARK (hereinafter “PARK”) resided at
various times in Spokane County, Washington, and Clark County, Nevada. In
furtherance of the scheme and artifice set forth in this Indictment, PARK used the
following names: “Ryan Folks,” “Ryan Robert Folks,” “Roberto Ryan Gonzalez,”
“Michael Ryan White,” “Michael Ryan Smith,” *Kaden Wenzl,” and “Joseph Ryan
Frangella.”

6. Defendant MISAEL REYES-TAJIMAROA (hereinafter “REYES-
TAJIMAROA”’) resided at various times in Spokane County, Washington, and Clark
County, Nevada. In furtherance of the scheme and artifice set forth in this
Indictment, REYES-TAJIMAROA used the following names: “Misael Andrade-
Tajimaroa,” “Alexander Jesse Gonzalez,” “Alexander Misael Gonzalez,”
“Alexander B. Gonzalez,” “Jesse Gonzalez,” “Brian Andrade,” “Misael Andrade,”
“Andrade Tajimaroa,” “Tajimaroa Andrade,” “Jose Brian Amezcua,” “Angel
Tardy,” and “Andrew Arceo.”

7. Defendant JESSICA ALEXANDRA GONZALEZ (hereinafter
“JESSICA GONZALEZ”) resided at various times in Spokane County, Washington,
and Clark County, Nevada. In furtherance of the scheme and artifice set forth in this
Indictment, JESSICA GONZALEZ used the name “Jessica Martinez.”

INDICTMENT - 3

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8. Defendant KIMBERLY RITA BOITO (hereinafter “BOITO”) resided
in Spokane County, Washington.

9. Defendant BRITTANY JO HARRIS (hereinafter “HARRIS”) resided
at various times in Spokane County, Washington, and Clark County, Nevada. In
furtherance of the scheme and artifice set forth in this Indictment, HARRIS used the
name: “Brittany Clarkson.”

10. Defendant BONNIE JEAN BONNEY (hereinafter “BONNEY”)
resided in El Dorado County, California.

11. Defendant MATTHEW DAVID CARTER (hereinafter “CARTER”)
resided in Clark County, Nevada.

12. Defendant CHRISTOPHER JOSEPH FRANGELLA (hereinafter
“FRANGELLA”) resided at various times in Spokane County, Washington, and
Clark County, Nevada.

13, Defendant RICHARD RONALD WELLS (hereinafter “WELLS”)
resided in Spokane County, Washington, and Coeur d’ Alene, Idaho.

14. Defendant ALEXANDER ARCEO (hereinafter “ARCEO”) resided at
various times in Los Angeles County, California, and Spokane, Washington.

15. Defendant RAUL A. GONZALEZ (hereinafter “RAUL GONZALEZ”)
resided in Spokane County, Washington. In furtherance of the scheme and artifice
set forth in this Indictment, RAUL GONZALEZ used the name “Angel Gonzalez.”

16. Defendant TERESA ANN GONZALEZ (hereinafter “TERESA
GONZALEZ”) resided in Spokane County, Washington. TERESA GONZALEZ
and RAUL GONZALEZ were a married couple.

17. Defendant MICHELE LEE SMITH (hereinafter “SMITH”) resided in
Spokane County, Washington. In furtherance of the scheme and artifice set forth in
this Indictment, SMITH used the name “Shelley Smith.”

INDICTMENT — 4

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18. Defendant JOSE EVERADO MEZA-AMEZCUA (hereinafter
“MEZA-AMEZCUA”) resided in Clark County, Nevada.

19, Defendant STEPHANIE STOCK (hereinafter “STOCK”) resided in
Santa Clara County, California.

20. Defendant MICHAEL ADAM WHITE (hereinafter “WHITE”) resided

in Clark County, Nevada.

21. Defendant JASON ALLAN WESTFALL (hereinafter “WESTFALL”)
resided in Clark County, Nevada.

22. Defendant RANDY CARL SHARP (hereinafter, “SHARP”), resided in
Clark County, Nevada.

Insurance Companies

23. Allstate Insurance Group and its members, including Allstate Insurance
Company (“Allstate”) of Northbrook, Illinois, and Esurance Property and Casualty
Insurance Company (“Esurance”) of San Francisco, California, were in the business
of offering automobile insurance to customers: in California, Washington and
Nevada.

24. AMERCO, the parent company of U-Haul, and its members, including
Repwest Insurance Company (“Repwest”), of Phoenix, Arizona, were in the
business of offering insurance for U-Haul and U-Haul’s customers and dealers.

25, Amica Mutual Group and its members, including Amica Mutual
Insurance Company (“Amica”), of Lincoln, Rhode Island, were in the business of
offering automobile insurance to customers in Washington and Nevada. Amica
provided health care benefit programs that provided coverage for bodily injuries
sustained from accidents caused by automobiles covered under Amica insurance
policies.

26. Berkshire Hathaway Insurance Group and its members, including

GEICO Casualty Company, GEICO General Insurance Company, and GEICO

INDICTMENT — 5

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Indemnity Company of Chevy Chase, Maryland (“GEICO”) were in the business of
offering automobile insurance to customers in Washington and Nevada. GEICO
provided health care benefit programs that provided coverage for bodily injuries
sustained from accidents caused by automobiles covered under GEICO insurance
policies.

27. CSAA Insurance Group and its members, including AAA Nevada Fire
& Casualty and AAA Insurance (““CSAA/AAA”) of Walnut Creek, California, were
in the business of offering homeowners and automobile insurance to customers in
California, Washington and Nevada. CSAA provided health care benefit programs
that provided coverage for bodily injuries sustained from accidents caused by
automobiles covered under CSAA insurance policies.

28. Liberty Mutual Group and its members, including Liberty Mutual
Insurance Company (“Liberty Mutual”) of Boston, Massachusetts, and Safeco
Insurance (“Safeco”) of Seattle, Washington, were in the business of offering
automobile and homeowners insurance to customers in California, Washington, and
Nevada. Liberty Mutual provided health care benefit programs that provided
coverage for bodily injuries sustained from accidents covered under Liberty Mutual
insurance policies.

29. MAPFRE Group and its members, including American Commerce
Insurance (“American Commerce”) of Columbus, Ohio, were in the business of
offering homeowners insurance to customers in Washington and Nevada.

30. MetLife Auto & Home Group and its members, including Metropolitan
Property and Casualty Insurance Company (“MetLife”), of Warwick, Rhode Island,
were in the business of offering automobile insurance to customers in Washington
and Nevada.

31. Nationwide Insurance Companies, and its members, including Allied

Insurance Company (“Allied Insurance’) of Des Moines, Iowa, and Nationwide

INDICTMENT — 6

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Mutual Insurance Company (“Nationwide”) of Columbus, Ohio, and AMCO
Insurance Company were in the business of offering automobile and boat insurance
to customers in California, Washington and Nevada.

32, Progressive Group of Insurance Companies (“Progressive”) of
Mayfield, Ohio, were in the business of offering automobile insurance to customers
in Washington and Nevada. Progressive provided health care benefit programs that
provided coverage for bodily injuries sustained from accidents caused by
automobiles covered under Progressive insurance policies.

33. State Farm Group and its members, including State Farm Mutual
Automobile Insurance Company (“State Farm”), of Bloomington, Illinois, were in
the business of offering automobile insurance to customers in California,
Washington, and Nevada. State Farm provided health care benefit programs that
provided coverage for bodily injuries sustained from accidents caused by
automobiles covered under State Farm insurance policies.

34. The Hartford Financial Services Group (“Hartford”) of Hartford,
Connecticut, was in the business of offering automobile insurance to customers in
Washington and Nevada.

35. The Hertz Corporation (“Hertz) was a rental car company
headquartered in Estero, Florida, which offered automobile coverage to its rental car
customers in Nevada and elsewhere.

36. The Travelers Companies, Inc. (“Travelers”) of New York City, New
York, was in the business of offering automobile, boat and yacht insurance to
customers in Washington and Nevada.

37. United Services Automobile Association (“USAA”) and its members,
including USAA General Indemnity Company, of San Antonio, Texas, was in the
business of offering automobile insurance to its customers in Washington and

Nevada.

INDICTMENT — 7

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38. First National Insurance Group (“First National Insurance”) of
Lawrenceville, Georgia, was an independent insurance and financial services agency
that represented regional and national insurance carriers and products, including
automobile and homeowner insurance.

39, Farmers Insurance Exchange (“Farmers”) of California, was in the
business of offering automobile insurance to customers in Washington and Nevada.
Financial Institutions

40. Wells Fargo Bank (“WFB”) was federally insured by the Federal
Deposit Insurance Corporation. Defendants MIZE [-1], WELLS, and PARK, held
accounts at WFB.

41. JP Morgan Chase Bank (“JPMC”) was federally insured by the Federal
Deposit Insurance Corporation. Defendants MIZE [-1], REYES-TAJIMAROA,
JESSICA GONZALEZ, TALENTO, TARDY, and BOITO held accounts at JPMC.

42. Bank of America (“BOA”) was federally insured by the Federal
Deposit Insurance Corporation. Defendants MIZE [-1], REYES-TAJIMAROA, and
TALENTO, held accounts at BOA.

43. City National Bank (“CNB”) was federally insured by the Federal

Deposit Insurance Corporation. Defendant MIZE [-1] held an accounts at CNB.
44. Umpqua Bank (“UB”) was federally insured by the Federal Deposit
Insurance Corporation. Defendants MIZE [-1] and TALENTO held accounts at UB.
45. Banner Bank was federally insured by the Federal Deposit Insurance
Corporation. Defendants MIZE [-1], TALENTO, and BOTIO held accounts at BB.
46. Bank of Nevada (“BON”) was federally insured by the Federal Deposit
Insurance Corporation. Defendant MIZE [-1] held an account at BON.
47. Scottrade (“Scottrade”) was a discount broker in securities and
provided other financial services to its clients. MIZE [-1] held accounts at

Scotttrade.

INDICTMENT — 8

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GENERAL ALLEGATIONS
The Scheme and Artifice to Defraud
48. Beginning on or about a date unknown to the Grand Jury, but by no

later than September 11, 2013, and continuing through on or about April 12, 2018,
in the Eastern District of Washington and elsewhere, the Defendants MIZE [-1],
TALENTO, MIZE [-3], TARDY, REYES-TAJIMAROA, PARK, BOITO,
HARRIS, JESSICA GONZALEZ, BONNEY, WELLS, ARCEO, FRANGELLA,
RAUL GONZALEZ, TERESA GONZALEZ, MEZA-AMEZCUA, SMITH,
CARTER, STOCK, WHITE, WESTFALL and SHARP (as identified in each count
below) did knowingly and willfully engage in a scheme to defraud insurance
companies (hereinafter “victim insurance companies’) and to obtain money from
these companies by means of materially false and fraudulent pretenses,
representations, and promises.

49, The object of the scheme and artifice to defraud was for the Defendants
and their co-conspirators to enrich themselves by defrauding the victim insurance
companies through filing and collecting payment on fraudulent insurance claims for
property damage, wage loss, and bodily injury.

Manner and Means

50. The manner and means utilized by the Defendants to accomplish the
object of the scheme and artifice to defraud included the following:

51. The Defendants deliberately staged a series of automobile, boating,
stair fall, pedestrian/vehicle and other accidents in the Eastern District of
Washington, District of Idaho, District of Nevada, and Eastern District of California.
MIZE [-1], TALENTO and their co-conspirators were involved in approximately 33
staged accidents, several of which are described in more detail below. MIZE [-1],
TALENTO and their co-conspirators staged approximately 6 accidents per year. A

high percentage of the planned automobile crashes were two-vehicle accidents on

INDICTMENT — 9

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remote roads and at night where there were no witnesses other than the co-
conspirator occupants of the intentionally crashed vehicles.

52. In furtherance of the scheme and artifice to defraud, a co-conspirator
would allow MIZE [-1] to use his or her vehicle for the purpose of staging an
automobile accident and obtaining an insurance payout. MIZE [-1] would
deliberately drive the pre-planned “at fault” vehicle into the pre-planned “‘no fault”
vehicle at a pre-planned location. MIZE [-1] would then exit the vehicle he
purposely crashed and be driven away from the staged accident scene in a third
vehicle before police and emergency personnel arrived. Another co-conspirator
would falsely represent that he or she was the driver of the “at fault” vehicle and
caused the accident.

53. Prior to a staged accident, MIZE [-1] purposely inflicted injuries on a
co-conspirator to mislead responders and insurance companies into believing the co-
conspirator was injured in the accident and to increase insurance payouts. MIZE [-
1] required co-conspirators to urinate in a bottle and pour urine on their clothing to
create the false and misleading impression that a co-conspirator suffered a loss of
consciousness.

54. In at least two staged accidents, MIZE [-1] also played injured victim.
In those two staged accidents, MIZE [-1] immediately got into the “no fault” victim
vehicle after he deliberately crashed another vehicle into it. When police and
emergency personnel arrived, MIZE [-1] misled them and the insurance company
into believing he was an injured victim-occupant in the “no fault” vehicle.

55. The Defendants made and caused to be made false material
representations to police, emergency and medical personnel, and insurance company
representatives about the manner in which the accident occurred and the cause,

nature and extent of their injuries.

INDICTMENT — 10

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56. Often using fake names and identities, the Defendants would sign and
send documents to victim insurance companies appointing MIZE [-1], who also used
fake names and identities depending on the accident, as their “representative” or
“power of attorney” in connection with the fraudulent insurance claims.

57. After each staged accident, the Defendants submitted and caused to be
submitted fraudulent property damage, wage loss, medical, and bodily injury claims
with victim insurance companies. To conceal the fraudulent nature of the scheme,
the Defendants often used fictitious names, false and misleading identification
documents, misleading social security numbers, dates of birth, employment and
salary information, fictitious familial relationships, and email addresses. The
Defendants falsely claimed that they suffered head, knee, shoulder and other injuries
from the staged accidents.

58. The Defendants communicated with the victim insurance companies
about the fraudulent claims via interstate telephone calls, facsimiles, emails, and
mailings.

59. In furtherance of the fraudulent scheme, the Defendants sought follow-
up emergency room and medical treatment for fictitious and fabricated accident
symptoms and injuries. Acting as a co-conspirator’s “representative,” MIZE [-1]
would compile and submit to the victim insurance companies false and misleading
medical and billing records to increase the settlement payouts he negotiated on a co-
conspirator’s behalf.

60. — In furtherance of the scheme, MIZE [-1] instructed a co-conspirator to
accompany the co-conspirator who was playing injured accident victim to the
hospital and have them falsely represent that he or she was experiencing concussion-
related symptoms caused by the accident, when in truth and fact there were no such

injuries or symptoms.

INDICTMENT -— 11

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61. In furtherance of the scheme, on or about January 27, 2014, BOITO
rented mailbox #109 at the UPS Store located at 1818 West Francis Avenue,
Spokane, Washington. On or about April 3, 2014, PARK became an authorized user
of mailbox #109.

62. In furtherance of the scheme, on or about July 2, 2014, REYES-
TAJIMAROA, using a fabricated Nevada driver’s license in the name of “Brian
Jesse Gonzalez,” rented mailbox #102 at the UPS Store located at 1324 North
Liberty Lake Road, Liberty Lake, Washington. MIZE [-1] (as “Bill Park”) sent by
facsimile to the UPS Store a second form of false identification on REYES-
TAJIMAROA’s behalf.

63. During the claim process for the staged accidents, the Defendants made
and caused to be made various false representations to the victim insurance
companies, including as to (a) the conditions that caused the crash or accident; (b)
who was driving at the time of the crash; (c) the true identities of the individuals
involved; (d) the income and employment status of the individuals involved; and (e)
whether and to what extent they suffered injuries as a result of the staged automobile
or other accident. .

64. The Defendants collected payouts on their fraudulent claims from the
victim insurance companies. For his role planning the details of a staged accident,
and acting as a co-conspirator’s “representative” to the victim insurance companies,
MIZE [-1] received a significant portion of the monies paid on the fraudulent claims.
The amount of money a co-conspirator received depended on the role MIZE [-1] had
them play in a staged accident.

65. The Defendants staged some accidents as a fraudulent way to induce
insurance companies to pay for medical treatment for a pre-existing injury, totally

unrelated to and not caused by the accident.

INDICTMENT — 12

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66. The Defendants caused victim insurance companies to issue payments
to them via mailed check and wire transfer to settle fraudulent bodily injury, wage
loss, and property damage claims arising from staged accidents.

67. In furtherance of the scheme to defraud, the Defendants caused victim
insurance companies to pay out over $6 million as a result of their fraudulent staged
accident claims.

COUNTS 1 -3
(Mail Fraud)
September 11, 2013, Staged Automobile Accident
68. Paragraphs 1, 2, 15, 19, 27, 33, 48 - 50, 52, 55, 57, 58, 63, 64 and 66 of
the Indictment are realleged and incorporated herein as though set forth fully herein.

69. On or about September 11, 2013, MIZE, TALENTO, RAUL
GONZALEZ and STOCK staged an accident at the intersection of West Horizon
Ridge Parkway and Cielo Abierto Way in Henderson, Nevada. The staged accident
involved a 1997 Toyota 4Runner registered to and insured by STOCK being
purposely driven into a 2001 Jaguar XK8 registered to MIZE [-1] and insured by
MIZE [-1]. RAUL GONZALEZ was in the driver’s seat and TALENTO was in the
front passenger seat of the 2001 Jaguar XK8. MIZE [-1], TALENTO, RAUL
GONZALEZ and STOCK subsequently filed fraudulent insurance claims in which
they falsely represented and adopted each others false representations that, among
other things, they were involved in an accident and suffered bodily injury, wage loss,
and property damage as a result of the accident. MIZE [-1] sent insurance claim
documents on behalf of TALENTO, RAUL GONZALEZ and STOCK, knowing that
they were false. In exchange for releasing their claims, MIZE [-1], TALENTO,
RAUL GONZALEZ and STOCK received settlement payouts totaling
approximately $257,157.62 from State Farm and CSAA.

INDICTMENT -— 13

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70. On or about the date listed below, in the Eastern District of Washington
and elsewhere, for the purpose of executing and attempting to execute the above-
described scheme and artifice to defraud, the Defendants identified below knowingly
caused to be delivered, and aided and abetted each other and others known and

unknown to the Grand Jury to cause to be delivered, through the United States Mail,

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the mail matter described below, as follows:

COUNT

Approximate
Mailing Date

Description

Defendants

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1/21/2014

State Farm check no.
576386 payable to “Sandra
Talento” in the amount of
$820.15 mailed to “Sandra
Talento” into the State of
Washington from State
Farm outside the State of
Washington

MIZE [-1],
TALENTO,
RAUL
GONZALEZ,
STOCK

1/21/2014

State Farm check no.
576354 payable to “Raul
Gonzalez” in the amount of
$691.71 mailed to “Raul
Gonzalez” into the State of
Washington from State
Farm outside the State of
Washington

MIZE [-1],
TALENTO,
RAUL
GONZALEZ,
STOCK

5/22/2014

Letter and State Farm check
no. 672307 payable to “Raul
Gonzalez” in the amount of
$175,000 mailed to “Raul
Gonzalez” into the State of
Washington from State

Farm outside the State of

Washington

MIZE [-1],
TALENTO,
RAUL
GONZALEZ,
STOCK

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

INDICTMENT -— 14

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COUNTS 4-5
(Mail Fraud)
October 19, 2013, Staged Stair Fall Accident

71. Paragraphs 1, 3, 28, 48 — 50, 53, 55 — 60, 63, 64, and 66 of the
Indictment are realleged and incorporated herein as though set forth fully herein.

72. On or about October 19, 2013, MIZE [-1], MIZE [-3] and an unindicted
co-conspirator (hereinafter, “UCC-1”) staged a stair fall accident at UCC-1’s
residence in California. MIZE [-1] (as “William Westfall”) and MIZE [-3] (as
“Allan W. Westfall’) subsequently filed a fraudulent insurance claim for MIZE [-3]
(as “Allan W. Westfall”) in which they falsely represented and adopted each other’s
false representations that, among other things, the accident occurred because UCC-
1’s large dog jumped on, or knocked forward, MIZE [-3] (as “Allan W. Westfall’),
causing him to fall down 8-10 stairs. MIZE [-1] (as “William Westfall”), MIZE [-
3] (as “Allan W. Westfall”), UCC-1 and another unindicted co-conspirator
(hereinafter, “UCC-2”) falsely represented that MIZE [-3] (as “Allan W. Westfall”)
suffered serious head and other injures from the accident. Before emergency
personnel arrived, MIZE [-3] poured urine on MIZE [-3]’s clothing to falsely create
the impression that MIZE [-3] (as “Allan W. Westfall”) suffered a loss of
consciousness or a seizure. MIZE [-1] (as “William Westfall’) and MIZE [-3] (as
“Allan W. Westfall”) submitted insurance claim documents, knowing they were
false. In exchange for releasing his claim, on or about June 6, 2014, MIZE [-3] (as
“Allan W. Westfall”) received a settlement payout from Liberty Mutual of
approximately $175,000.00.

73. On or about the dates listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below

and UCC-1 and UCC-2 knowingly caused to be delivered, and aided and abetted

INDICTMENT — 15

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each other and others known and unknown to the Grand Jury to cause to be delivered,
through the United States Mail, the mail matter described below, each count

constituting a separate count of this Indictment, as follows:

COUNT | Approximate | Description Defendant
Mailing Date
4 3/10/2014 Settlement Demand Letter of | MIZE [-1],

$235,000 for “Allan Westfall” and | MIZE [-3]
supporting documents mailed
from within the State of
Washington to Liberty Mutual
Insurance Company outside the
State of Washington

5 5/27/2014 Release and Settlement of “Allan | MIZE [-1],
Westfall’s” claim mailed from | MIZE [-3]
within the State of Washington to
Liberty Mutual Insurance
Company outside the State of
Washington

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.
COUNT 6
(Mail Fraud)
November 12, 2013, Staged Parking Lot Accident

74. Paragraphs 1, 6, 12, 26, 48 — 50, 55 - 58, 63, 64 and 66 of this Indictment

are realleged and incorporated as though fully set forth herein.

75. On or about November 12, 2013, MIZE [-1], REYES-TAJIMAROA
and FRANGELLA staged an accident in the parking lot of a business located at
10345 South Eastern Avenue in Henderson, Nevada. The staged accident
involved a 1997 Yukon registered to and insured by FRANGELLA being
purposely driven into REYES-TAJIMAROA who was loading groceries in a
Mercedes Benz registered to UCC-2 and insured by UCC-2. MIZE [-1] and
REYES-TAJIMAROA (as “Tajimaroa Andrade’) subsequently filed a fraudulent

INDICTMENT — 16

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insurance claim in which they falsely represented and adopted each others false
representations that, among other things, they were involved in an accident and
REYES-TAJIMAROA (as “Tajimaroa Andrade”) suffered bodily injury and wage
loss as a result of the accident. After the staged accident, MIZE [-1]sent insurance
claim documents on behalf of REYES-TAJIMAROA a/k/a “Tajimaroa Andrade,”
knowing that they were false. In exchange for releasing his claim, MIZE [-1] and
REYES-TAJIMAROA (as “Andrade Tajimaroa”) received a settlement payout
totaling approximately $100,000.00 from GEICO.

76. On or about the date listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified
below knowingly caused to be delivered, and aided and abetted each other and
others known and unknown to the Grand Jury to cause to be delivered, through the
United States Mail, the mail matter described below, each count constituting a

separate count of this Indictment, as follows:

COUNT | Approximate Description Defendants
Mailing Date
6 1/22/2014 Settlement Demand Letter MIZE [-1],
requesting $100,000 policy | REYES-
limits for “Andrade ~ | TAJIMAROA,

Tajimaroa” and medical and | FRANGELLA
billing records, notes, lost
income and employer letters
mailed from within the State
of Washington to GEICO
outside the State of
Washington

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

INDICTMENT — 17

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COUNTS 7-8
(Mail Fraud)
March 16, 2014, Staged Automobile Accident

Ts Paragraphs 1, 2, 4, 6, 26, 27, 48 — 50, 52, 53, 55 — 59, and 63 — 66 of
the Indictment are realleged and incorporated as though set forth fully herein.

78. On or about March 16, 2014, MIZE |[-1], TALENTO, REYES-
TAJIMAROA, TARDY, UCC-2, and another unindicted co-conspirator
(hereinafter, “UCC-3”) staged an accident at the intersection of Executive Airport
Drive and Executive Terminal Drive in Henderson, Nevada. MIZE [-1] purposely
drove a 2008 Chrysler Sebring convertible registered to and insured by TARDY into
a stationary 2006 Mercedes Benz E500 registered to UCC-2 and insured by UCC-2.
UCC-3 was in the driver’s seat, TALENTO was in the front passenger seat, and
REYES-TAJIMAROA was in the backseat of the 2006 Mercedes Benz E500. After
the crash, MIZE [-1] exited from the Chrysler Sebring and left in a third vehicle
before law enforcement officers arrived. TARDY falsely represented that she was
driving the Chrysler Sebring at the time of the crash and how the crash occurred.
TALENTO (as “Victoria Francis Kramer’), REYES-TAJIMAROA (as “Jesse
Gonzalez”), and UCC-3 subsequently filed fraudulent insurance claims in which
they falsely represented and adopted each others false representations that, among
other things, that they were involved in an accident and suffered bodily injury, wage
loss, and property damage as a result of the accident. After the staged accident,
TARDY, TALENTO (as “Victoria Francis Kramer”), REYES-TAJIMAROA (as
“Jesse Gonzalez”), and UCC-3 made false representations during recorded
telephonic interviews with the insurance company. MIZE [-1] (as “Bill Babaian’’)
submitted insurance claim documents on behalf of TARDY, TALENTO, REYES-
TAJIMAROA and UCC-3, knowing that they were false. In exchange for releasing
their claims, MIZE [-1], TARDY, TALENTO, REYES-TAJIMAROA, and UCC-3

INDICTMENT — 18

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received settlement payouts totaling approximately $226,209.56 from AAA, CSAA
and GEICO.

79. On or about the dates listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below
and UCC-2 and UCC-3 knowingly caused to be delivered, and aided and abetted
each other and others known and unknown to the Grand Jury to cause to be delivered,
through the United States Mail, the mail matter described below, each count

constituting a separate count of this Indictment, as follows:

COUNT

Approximate
Mailing Date

Description

Defendant

7

4/2/2014

Letter confirming agreement
to settle “Victoria Kramer’s”
Bodily Injury Claim for
$50,000 and Release in Full of
All Claims mailed to “Victoria
Kramer” into the State of
Washington from GEICO
outside the State of

Washington

MIZE [-1],
TALENTO,
TARDY,
REYES-
TAJIMAROA

4/8/2014

GEICO check no. 167480429,
payable to “Victoria Kramer,”
in the amount of $50,000
mailed to “Victoria Kramer”
into. the State of Washington
from GEICO outside the State
of Washington

MIZE [-1],
TALENTO,
TARDY,
REYES-
TAJIMAROA

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

INDICTMENT — 19

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COUNT 9
(Wire Fraud)
March 16, 2014, Staged Automobile Accident
80. Paragraph 1, 2, 4, 6, 26, 27, 48 — 50, 52, 53, 55 — 59, 63 — 66, and 78 of
the Indictment are realleged and incorporated herein as though set forth fully herein.

81. On or about the date listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified
below knowingly caused to be transmitted, and aided and abetted each other and
others known and unknown to the Grand Jury to cause to be transmitted, in
interstate commerce by means of wire communications certain signs, signals, and

sounds, as follows:

COUNT | Approximate | Description of Interstate Wire | Defendants
Date
9 4/3/2014 Release in Full of All Claims | MIZE [-1],
regarding “Angela Tardy” and | TALENTO,
GEICO sent via facsimile from | TARDY,
“Vicky Kramer” within the State | REYES-

of Washington to GEICO outside | TAJIMAROA
the State of Washington

All in violation of 18 U.S.C. § 1343 and 18 U.S.C. § 2.
COUNTS 10-13
(Mail Fraud)
May 18, 2014, Staged Automobile Accident

82. Paragraphs 1, 5, 6, 8, 10, 31, 48 — 50, 52, 53, 55 — 58, 61, 63, 64 and 66
of this Indictment are realleged and incorporated as though fully set forth herein.

83. On or about May 18, 2014, MIZE [-1], REYES-TAJIMAROA, PARK,
BOITO and BONNEY staged an accident at the intersection of South Shingle Road

INDICTMENT — 20

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and Sunset Lane in Shingle Springs, California. The staged accident involved a 2003
Saturn Vue registered to and insured by BONNEY being purposely driven into a
2003 Ford Mustang registered to and insured by BOITO. REYES-TAJIMAROA
(as “Alexander Jesse Gonzalez”) PARK (as “Michael Ryan White”) BOITO and
BONNEY subsequently filed fraudulent insurance claims in which they falsely
represented and adopted each others false representations that, among other things,
they were involved in an accident and suffered bodily injury, wage loss, and property
damage as a result of the accident. After the staged accident, MIZE [-1] (as “Bill
Park”) sent insurance claim documents on behalf of REYES-TAJIMAROA (as
“Alexander Jesse Gonzalez”), PARK (as “Michael Ryan White”) BOITO, and
BONNEY, knowing that they were false. In exchange for releasing their claims,
MIZE (as “Bill Park”), REYES-TAJIMAROA (as “Alexander Jesse Gonzalez”),
PARK (as “Michael Ryan White”), BOITO and BONNEY received settlement
payouts totaling approximately $296,826.75 from Nationwide and AMCO.

84. On or about the dates listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below
knowingly caused to be delivered, and aided and abetted each other and others
known and unknown to the Grand Jury to cause to be delivered, through the United
States Mail, the mail matter described below, each count constituting a separate

count of this Indictment, as follows:

COUNT | Approximate Description Defendants
Mailing Date
10 6/5/2014 Letter confirming $12,000 | MIZE [-1],

payment for total loss of | REYES-
vehicle mailed to Kimberly | TAJIMAROA,
Boito into the State of} PARK,
Washington from | BOITO,
BONNEY

INDICTMENT — 21

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Nationwide/AMCO _ outside

the State of Washington

11

8/28/2014

Settlement Demand Letter
requesting $100,000 policy
limits for Michael White,
Alexander Gonzales and
Kimberly Boito and medical
and billing records, notes,
lost income and employer
letters mailed from within the
State of Washington to
AMCO outside the State of
Washington

MIZE [-1],
REYES-
TAJIMAROA,
PARK,
BOITO,
BONNEY

12

9/16/2014

Nationwide check no.
03967091 payable to
“Alexander Gonzalez” in the
amount of $100,000 mailed
to “Alexander Gonzalez” into
the State of Washington from
Nationwide outside the State
of Washington

MIZE [-1],
REYES-
TAJIMAROA,
PARK,
BOITO,
BONNEY

13

9/16/2014

Nationwide check _no.
03967101 payable to
“Michael White” in the
amount of $100,000 mailed
to “Michael White” into the
State of Washington from
Nationwide outside the State
of Washington

MIZE [-1],
REYES-
TAJIMAROA,
PARK,
BOITO,
BONNEY

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

INDICTMENT — 22

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COUNTS 14-15
(Wire Fraud)
May 18, 2014, Staged Automobile Accident
85. Paragraphs 1, 5, 6, 8, 10, 31, 48 — 50, 52, 53, 55 — 58, 61, 63, 64, 66
and 83 of the Indictment are realleged and incorporated herein as though set forth
fully herein.
86.

and elsewhere, for the purpose of executing and attempting to execute the above-

On or about the date listed below, in the Eastern District of Washington

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described scheme and artifice to defraud, the Defendants identified below knowingly
caused to be transmitted, and aided and abetted each other and others known and

unknown to the Grand Jury to cause to be transmitted, in interstate commerce by

means of wire communications certain signs, signals, and sounds, as follows:

COUNT

Approximate
Date

Description of Interstate Wire

Defendants

14

6/9/2014

$12,000 sent via interstate wire to
“Kimberly Rita Boito” into the
State of Washington from
Nationwide outside the State of
Washington

MIZE [-1],
PARK,
REYES-
TAJIMAROA,
BOITO,
BONNEY

15

10/1/2014

$80,000 sent via interstate wire to
“Kimberly Rita Boito” into the
State of Washington from
Nationwide outside the State of
Washington

MIZE [-1],
TALENTO,
PARK,
REYES-
TAJIMAROA,
BOITO,
BONNEY

All in violation of 18 U.S.C. § 1343 and 18 U.S.C. § 2.

INDICTMENT — 23

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NO bw bw bw HN WKH HN KN NNO Re Be Se Re Be eae ee eS
on DN MH Bh WwW YNY KF CO OHO DBDs HR A BR WW LH KH CO

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COUNT 16
(Mail Fraud)
May 20, 2014, Staged Stair Fall Accident

87. Paragraphs 1, 2, 5, 27, 48 — 50, 55 — 59, 61, 63, 64 and 66 of this
Indictment are realleged and incorporated as though fully set forth herein.

88. On or about May 20, 2014, MIZE [-1], TALENTO, and an unindicted
co-conspirator (hereinafter, “UCC-4”) staged a stair fall accident in UCC-4’s
residence in California.

89. MIZE [-1] (as “Bill Park’), TALENTO (as “Ryann Sandra Park’”’) and
UCC-4 subsequently filed a fraudulent insurance claim for TALENTO (as “Ryann
Sandra Park’) in which they falsely represented and adopted each other’s false
representations that, among other things, the accident occurred because UCC-4’s
large dog jumped in front of TALENTO causing her to fall down 8 stairs. MIZE [-
1] (as “Bill Park”), TALENTO (as “Ryann Sandra Park”) and UCC-4 falsely
represented that TALENTO (as “Ryann Sandra Park”) suffered bodily injury and
wage loss as a result of the accident. MIZE [-1] (as “Bill Park”) submitted insurance
claim documents on behalf of TALENTO (as “Ryann Sandra Park”), knowing they
were false. In exchange for releasing her claim, TALENTO (as “Ryann Sandra
Park”) and MIZE [-1] (as “Bill Park”) received a settlement payout from CSAA of
approximately $86,000.

90. On or about the date listed below, in the Eastern District of Washington
and elsewhere, for the purpose of executing and attempting to execute the above-
described scheme and artifice to defraud, the Defendants identified below and UCC-
4 knowingly caused to be delivered, and aided and abetted each other and others
known and unknown to the Grand Jury to cause to be delivered, through the United
States Mail, the mail matter described below, each count constituting a separate

count of this Indictment, as follows:

INDICTMENT — 24

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COUNT | Approximate Description Defendants
Mailing Date
16 2/19/2015 CSAA check no. 0714483983 | MIZE [-1],
payable to “Ryann Park” in the | TALENTO,
amount of $85,000 mailed to | PARK

“Ryann Park” into the State of
Washington from CSAA
outside the State of
Washington

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

91.

COUNT 17
(Wire Fraud)

May 20, 2014, Staged Stair Fall Accident
Paragraphs 1, 2, 5, 27, 48 —50, 55 — 59, 61, 63, 64, 66, 88 and 89 of the

Indictment are realleged and incorporated herein as though set forth fully herein.

92.

and elsewhere, for the purpose of executing and attempting to execute the above-
described scheme and artifice to defraud, the Defendants identified below and UCC-
4, knowingly caused to be transmitted, and aided and abetted each other and others
known and unknown to the Grand Jury to cause to be transmitted, in interstate

commerce by means of wire communications certain signs, signals, and sounds, as

On or about the date listed below, in the Eastern District of Washington

follows:
COUNT | Approximate | Description of Interstate Wire | Defendants
Date
17 2/12/2015 Release of All Claims for Bodily | MIZE [-1],
Injury Only sent via facsimile | TALENTO,
within the State of Washington to | PARK

CSAA outside the State of
Washington

All in violation of 18 U.S.C. § 1343 and 18 U.S.C. § 2.

INDICTMENT — 25

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COUNT 18
(Mail Fraud)
September 23, 2014, Staged Parking Lot Accident

93. Paragraphs 1, 2, 6, 17, 34, 48 - 50, 55 — 58, 63, 64 and 66 of this
Indictment are realleged and incorporated as though fully set forth herein.

94, On or about September 23, 2014, MIZE [-1], TALENTO, REYES-
TAJIMAROA and SMITH staged an accident in the parking lot of a business located
2975 East 29" Avenue in Spokane, Washington. The staged accident involved a
2003 Toyota Sequoia registered to and insured by SMITH being purposely driven
into REYES-TAJIMAROA who was loading groceries in a 2007 Jaguar registered
to and insured by MIZE [-1]. MIZE [-1] (as “Phillip Tardy”), TALENTO, REYES-
TAJIMAROA (as “Angel Tardy”) and SMITH subsequently filed a fraudulent
insurance claim in which they falsely represented and adopted each others false
representations that, among other things, they were involved in an accident and
REYES-TAJIMAROA (as “Angel Tardy’) suffered bodily injury and wage loss as
a result of the accident. After the staged accident, MIZE [-1] (as “Phillip Tardy”)
sent insurance claim documents on behalf of TALENTO and REYES-TAJIMAROA
(as “Angel Tardy”), knowing that they were false. In exchange for releasing his
claim, MIZE (as “Phillip Tardy”), TALENTO, REYES-TAJIMAROA (as “Angel
Tardy”) and SMITH received a settlement payout totaling approximately
$100,000.00 from Hartford.

95. On or about the date listed below, in the Eastern District of Washington
and elsewhere, for the purpose of executing and attempting to’ execute the above-
described scheme and artifice to defraud, the Defendants identified below
knowingly caused to be delivered, and aided and abetted each other and others

known and unknown to the Grand Jury to cause to be delivered, through the United

INDICTMENT — 26

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States Mail, the mail matter described below, each count constituting a separate

count of this Indictment, as follows:

COUNT | Approximate | Description Defendants
Mailing Date
18 11/24/2014 Settlement Demand Letter} MIZE[-1],

requesting $100,000 policy limits | TALENTO,
for “Angel Tardy” and medical, | REYES-
billing, lost income and employer | TAJIMAROA,
records mailed from within the } SMITH

State of Washington to Hartford

outside the State of Washington

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.
COUNTS 19-24
(Mail Fraud)
September 28, 2014, Staged Automobile Accident

96. Paragraphs 1, 2, 5, 7, 15, 21, 26, 30, 48 — 50, 52, 55 — 58, 62 — 64 and
66 of this Indictment are realleged and incorporated as though fully set forth herein.

97. On or about September 28, 2014, MIZE [-1], TALENTO, PARK,
JESSICA GONZALEZ, RAUL GONZALEZ and WESTFALL staged an accident
at the intersection of Volunteer Boulevard and Gillespie Street in Las Vegas,
Nevada. The staged accident involved a 2001 BMW 530I registered to and insured
by WESTFALL being purposely driven into a 2006 Land Rover registered to and
insured by JESSICA GONZALEZ. TALENTO was in the driver’s seat, RAUL
GONZALEZ was in the front passenger seat, and PARK was in the left rear
passenger seat. PARK (as “Roberto Ryan Gonzalez”), RAUL GONZALEZ (as
“Angel Juan Gonzalez”) and WESTFALL subsequently filed fraudulent insurance
claims in which they falsely represented and adopted each others false
representations that, among other things, they were involved in an accident and

suffered bodily injury, wage loss, and property damage as a result of the accident.

INDICTMENT — 27

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After the staged accident, MIZE [-1] (as “Phillip Gonzalez”) sent insurance claim
documents on behalf of TALENTO, PARK (as “Roberto Ryan Gonzalez”), RAUL
GONZALEZ (as “Angel Juan Gonzalez”) and WESTFALL, knowing that they were
false. In exchange for releasing their claims, MIZE [-1] (as “Phillip Gonzalez”),
TALENTO, PARK (as “Roberto Ryan Gonzalez”), JESSICA GONZALEZ, RAUL
GONZALEZ (as “Angel Juan Gonzalez”) and WESTFALL received settlement
payouts totaling approximately $289,981.22 from MetLife and GEICO. .

98. On or about the dates listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below
knowingly caused to be delivered, and aided and abetted each other and others
known and unknown to the Grand Jury to cause to be delivered, through the United
States Mail, the mail matter described below, each count constituting a separate

count of this Indictment, as follows:

COUNT | Approximate | Description Defendants
Mailing Date
19 2/27/2015 GEICO check no. 172484506 | MIZE [-1],

payable to “Roberto Gonzalez” | TALENTO,
in the amount of $10,000 | PARK,
mailed to “Roberto Gonzalez” | JESSICA
into the State of Washington | GONZALEZ,
from GEICO outside the State | RAUL

of Washington GONZALEZ,
WESTFALL
20 2/27/2015 GEICO check no. 172483607 | MIZE [-1],

payable to “Angel J. Gonzalez” | TALENTO,
in the amount of $10,000 | PARK,
mailed to “Angel J. Gonzalez” | JESSICA
into the State of Washington | GONZALEZ,
from GEICO outside the State | RAUL

of Washington GONZALEZ,
WESTFALL

INDICTMENT — 28

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Case 2:18-cr-00232-TOR

ECF No. 1

filed 12/18/18 PagelD.29 Page 29 of 83

21

2/27/2015

GEICO check no. 172484507
payable to “Sandi Talento” in
the amount of $10,000 mailed
to “Sandi Talento” into the
State of Washington from
GEICO outside the State of
Washington

MIZE [-1],
TALENTO,
PARK,
JESSICA
GONZALEZ,
RAUL
GONZALEZ,
WESTFALL

22

4/9/2015

MetLife check no. 007889602
payable to “Angel Gonzalez” in
the amount of $100,000 mailed
to “Angel Gonzalez” into the
State of Washington from
MetLife outside the State of
Washington

MIZE [-1],
TALENTO,
PARK,
JESSICA
GONZALEZ,
RAUL
GONZALEZ,
WESTFALL

23

4/15/2015

MetLife check no. 007905819
payable to “Roberto Gonzalez”
in the amount of $63,000
mailed to “Roberto Gonzalez”
into the State of Washington
from MetLife outside the State
of Washington

MIZE [-1],
TALENTO,
PARK,
JESSICA
GONZALEZ,
RAUL
GONZALEZ,
WESTFALL

24

4/15/2015

MetLife check no. 007905818
payable to “Sandi Talento” in
the amount of $57,000 mailed
to “Sandi Talento” into the
State of Washington from
MetLife outside the State of
Washington

MIZE [-1],
TALENTO,
PARK,
JESSICA
GONZALEZ,
RAUL
GONZALEZ,
WESTFALL

INDICTMENT -— 29

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All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

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ons DN A BP WH KH KH CO OO Wn KH A BW VPN — CO

Case 2:18-cr-00232-TOR ECFNo.1 filed 12/18/18 PagelD.30 Page 30 of 83

COUNT 25
(Wire Fraud)
September 28, 2014, Staged Automobile Accident

99. Paragraphs 1, 2, 5, 7, 15, 21, 26, 30, 48 — 50, 52, 55 — 58, 62 — 64, 66,
and 97 of the Indictment are realleged and incorporated herein as though set forth
fully herein.

100. Onor about the date listed below, in the Eastern District of Washington
and elsewhere, for the purpose of executing and attempting to execute the above-
described scheme and artifice to defraud, the Defendants identified below knowingly
caused to be transmitted, and aided and abetted each other and others known and
unknown to the Grand Jury to cause to be transmitted, in interstate commerce by

means of wire communications certain signs, signals, and sounds, as follows:

COUNT | Approximate | Description of Interstate Wire | Defendants
Date
25 4/21/2015 Full and Final Release of All | MIZE [-1],
Claims sent via facsimile from | TALENTO,
within the State of Washington to
MetLife outside the State of
Washington

All in violation of 18 U.S.C. § 1343 and 18 U.S.C. § 2.
COUNTS 26-34
(Mail Fraud)
January 5, 2015, Staged Automobile Accident
101. Paragraphs 1, 2, 5, 8, 20, 32, 37, 48 — 50, 52, 55 — 58, 63, 64 and 66 of
this Indictment are realleged and incorporated as though fully set forth herein.

102. On or about January 5, 2015, MIZE [-1], TALENTO, PARK, BOITO
and WHITE staged an accident at the intersection of Callahan Avenue and Annie
Oakley Drive in Las Vegas, Nevada. The staged accident involved a 2014 Kia Forte
INDICTMENT -— 30

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NY BN NY LB KN NY BD KD DR OO
oN DN OH BB WH NH KH OO Dn HD NM FF WW NY | O&O

Case 2:18-cr-00232-TOR ECFNo.1 filed 12/18/18 PagelD.31 Page 31 of 83

registered to and insured by WHITE being purposely driven into a 2005 Jaguar
registered to and insured by BOITO. TALENTO (as “Rita Boito”) PARK (as “Ryan
Folks”) and BOITO subsequently filed fraudulent insurance claims in which they
falsely represented and adopted each others false representations that, among other
things, they were involved in an accident and suffered bodily injury, wage loss, and
property damage as a result of the accident. After the staged accident, MIZE [-1]
(as “Phillip Boito”) sent insurance claim documents on behalf of TALENTO (as
“Rita Boito”), PARK (as “Ryan Folks”) and BOITO, knowing that they were false.
In exchange for releasing their claims, MIZE [-1] (as “Phillip Boito”), TALENTO
(as “Rita Boito”), PARK (as “Ryan Folks”) and BOITO received settlement payouts
totaling approximately $379,416.37 from USAA and Progressive.

103. On or about the dates listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below.
knowingly caused to be delivered, and aided and abetted each other and others
known and unknown to the Grand Jury to cause to be delivered, through the United
States Mail, the mail matter described below, each count constituting a separate

count of this Indictment, as follows:

COUNT | Approximate Description Defendants
Mailing Date
26 5/7/2015 Reservation of Rights Letter | MIZE [-1],

regarding personal injury | TALENTO,
protection claim mailed to | PARK,
“Rita Boito” into the State of | BOITO,
Washington from Progressive | WHITE
outside the State of
Washington

INDICTMENT — 31

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Mm bw NH KH HN KN KN WN KN | | HF KFS HS SES eS eS Se
ot DN OO HR WO NY KH CO OO OH DH AH HBP WH HO KH CO

Case 2:18-cr-00232-TOR ECF No. 1

filed 12/18/18 PagelD.32 Page 32 of 83

27

5/7/2015

Reservation of Rights Letter
regarding personal injury
protection claim mailed to
“Ryan Folks” into the State of
Washington from Progressive
outside the State of
Washington

MIZE [-1],
TALENTO,
PARK,
BOITO,
WHITE

28

5/7/2015

Reservation of Rights Letter
regarding personal injury
protection claim mailed to
“Kimberly Boito” into the
State of Washington from
Progressive outside the State
of Washington

MIZE [-1],
TALENTO,
PARK,
BOITO,
WHITE

29

5/18/2015.

Progressive check _no.
2008403807 payable to “Rita
Boito” in the amount of
$10,000 mailed to “Rita
Boito” into the State of
Washington from Progressive
outside the State of
Washington

MIZE [-1],
TALENTO,
PARK,
BOITO,
WHITE

30

6/3/2015

Correspondence, Release of
All Claims and Hold
Harmless Agreement, and
Medicare Affidavits mailed
from within the State of
Washington to USAA outside
the State of Washington

MIZE [-1],
TALENTO,
PARK,
BOITO,
WHITE

31

7/27/2015

Progressive check _ no.
2009118476 payable to “Rita
Boito” in the amount of
$4,800 mailed to “Rita Boito”
into the State of Washington
from Progressive outside the
State of Washington

MIZE [-1],
TALENTO,
PARK,
BOITO,
WHITE

INDICTMENT -— 32

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aon NHN AN BPW YO KF OO OH Dn BPW NY | OS

Case 2:18-cr-00232-TOR ECF No. 1

filed 12/18/18 PagelD.33 Page 33 of 83

32 8/9/2015

Progressive check _ino.
2009251946 payable to “Rita
Boito” in the amount of
$1,680 mailed to “Rita Boito”
into the State of Washington
from Progressive outside the
State of Washington

MIZE [-1],
TALENTO,
PARK,
BOITO,
WHITE

33 8/19/2015

Medical Records regarding
“Rita Boito” mailed from
within the State of
Washington to USAA outside
the State of Washington

MIZE [-1],
TALENTO,
PARK,
BOITO,
WHITE

34 9/8/2015

Progressive check no.
2770679022 payable to “Rita
Boito” in the amount of
$50,000 mailed to Rita Boito
into the State of Washington
from Progressive outside the
State of Washington

MIZE [-1],
TALENTO,
PARK,
BOITO,
WHITE

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

COUNT 35
(Mail Fraud)

February 16, 2015, Staged Automobile Accident

104. Paragraphs 1, 6, 18, 32, 33, 48 — 50, 52 — 58, 63, 64 and 66 of this

Indictment are realleged and incorporated as though fully set forth herein.

105. On or about February 16, 2015, MIZE [-1], REYES-TAJIMAROA,
MEZA-AMEZCUA and UCC-3 staged an accident at the intersection of Las Vegas
Boulevard and Starr Avenue in Las Vegas, Nevada. MIZE [-1] purposely drove a
2003 Toyota Sequoia registered to UCC-3 and insured by a member of UCC-3’s
family into a stationary 2004 Bentley Arnage registered to and insured by MIZE [-
1]. UCC-3 was in the back seat of the Toyota Sequoia at MIZE [-1]’s instructions.
MEZA-AMEZCUA and REYES-TAJIMAROA were in the 2004 Bentley Arnage.

INDICTMENT — 33

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After the crash, MIZE [-1] exited the Toyota Sequoia and entered the 2004 Bentley
Arnage before law enforcement officers and emergency personnel arrived, staging
that he was an injured passenger in the Bentley. At MIZE [-1]’s instructions, UCC-
3 falsely represented that he was driving the Toyota Sequoia at the time of the crash
and how the crash occurred. MIZE [-1], REYES-TAJIMAROA (as “Alexander
Gonzalez”), MEZA-AMEZCUA and UCC-3 subsequently filed fraudulent
insurance claims in which they falsely represented and adopted each others false
representations that, among other things, the accident was caused by UCC-3 when
he grabbed a CD from the passenger seat and went a little off the road when he saw
a shadow. MIZE [-1], REYES-TAJIMAROA (as “Alexander Gonzalez”) and
MEZA-AMEZCUA further falsely represented that they suffered injuries as a result
of the accident. After the staged accident, MIZE [-1] submitted insurance claim
documents on his own behalf and on behalf of REYES-TAJIMAROA (as
“Alexander Gonzalez”) MEZA-AMEZCUA, and UCC-3, knowing that they were
false. In exchange for releasing their claims, MIZE [-1], REYES-TAJIMAROA (as
“Alexander Gonzalez”) MEZA-AMEZCUA, and UCC-3 received settlement
payouts totaling approximately $375,572.52 from State Farm Insurance and
Progressive Insurance Company.

106. Onor about the date listed below, in the Eastern District of Washington
and elsewhere, for the purpose of executing and attempting to execute the above-
described scheme and artifice to defraud, the Defendants identified below and UCC-
3 knowingly caused to be delivered, and aided and abetted each other and others
known and unknown to the Grand Jury to cause to be delivered, through the United
States Mail, the mail matter described below, each count constituting a separate

count of this Indictment, as follows:

INDICTMENT — 34

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COUNT | Approximate Description Defendants
Mailing Date
35 8/31/2015 Settlement Demand Letter of | MIZE [-1],

$100,000 for Jose Meza-| REYES-
Amezcua and_ supporting | TAJIMAROA,
documents mailed from |MEZA-
within the State of | AMEZCUA,
Washington to Progressive
Insurance Company outside

the State of Washington

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.
COUNTS 36-38
(Mail Fraud)
June 17, 2015, Staged Automobile Accident

107.. Paragraphs 1, 5, 6, 10, 11, 23, 32, 48 — 50, 52, 55 — 58, 63, 64 and 66
of this Indictment are realleged and incorporated as though fully set forth herein.

108. On or about June 17, 2015, MIZE [-1], PARK, BONNEY, REYES-
TAJIMAROA and CARTER staged an accident at the intersection of East Post Road
and Annie Oakley Drive in Las Vegas, Nevada. MIZE [-1] purposely drove a 2004
Cadillac Escalade registered to and insured by PARK into a 2004 Mercedes Benz
ML350 registered to and insured by BONNEY. CARTER was in the driver’s seat,
BONNEY was in the front passenger, and REYES-TAJIMAROA was in the back
seat of the 2004 Mercedes Benz ML 350. MIZE [-1] (as “Phillip Amezcua’”’), PARK,
BONNEY, REYES-TAJIMAROA (as “Jose Brian Amezcua”) and CARTER
subsequently filed fraudulent insurance claims in which they falsely represented and
adopted each others false representations that, among other things, they were
involved in an accident caused by PARK when he was attempting to light a cigarette
while driving the Cadillac Escalade. MIZE [-1] (as “Phillip Amezcua”), PARK,
BONNEY, REYES-TAJIMAROA (as “Jose Brian Amezcua”) and CARTER further
INDICTMENT — 35

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falsely represented that they suffered injuries, wage loss, and property damage, as a
result of the accident. After the staged accident, MIZE [-1] (as “Phillip Amezcua”)
submitted insurance claim documents on behalf of PARK, BONNEY, REYES-
TAJIMAROA (as “Jose Brian Amezcua”) and CARTER, knowing that they were
false. In exchange for releasing their claims, MIZE (as “Phillip Amezcua”), PARK,
BONNEY, REYES-TAJIMAROA (as “Jose Brian Amezcua”) and CARTER
received settlement payouts totaling approximately $286,495.80 from Allstate
Insurance Company and Progressive Insurance Company.

109.

Washington and elsewhere, for the purpose of executing and attempting to execute

On or about the dates listed below, in the Eastern District of

the above-described scheme and artifice to defraud, the Defendants identified below
knowingly caused to be delivered, and aided and abetted each other and others
known and unknown to the Grand Jury to cause to be delivered, through the United
States Mail, the mail matter described below, each count constituting a separate
count of this Indictment, as follows:

COUNT

Approximate Defendants
Mailing Date

6/29/2015

Description

36 Progressive check no. | MIZE [-1],

2770400399 payable to Ryan
Park in the amount of $12,647.44
mailed to Ryan Park into the
State of Washington from
Progressive outside the State of
Washington

PARK,
REYES- |
TAJIMAROA,
BONNEY,
CARTER

37

8/11/2015

Medical Billing, notes and
records for Matthew Carter,
Bonnie Bonney, and “Jose Brian
Amezcua” mailed from within
the State of Washington to Med
Central Birmingham (Allstate
Insurance) outside the State of
Washington

MIZE [-1],
PARK,
REYES-
TAJIMAROA,
BONNEY,
CARTER

INDICTMENT — 36

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Case 2:18-cr-00232-TOR ECFNo.1 filed 12/18/18 PagelD.37 Page 37 of 83

38 9/23/2015 Progressive check no. | MIZE [-1],
2770762714 payable to Ryan | PARK,

Park in the amount of $10,000 | REYES-
mailed to Ryan Park into the | TAJIMAROA,
State of Washington from | BONNEY,
Progressive outside the State of |} CARTER

Washington

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.
COUNTS 39-46
(Mail Fraud)
May 6, 2016, Staged Automobile Accident

110. Paragraphs 1, 2, 5, 16, 17, 37, 48 — 50, 52, 55 — 58, 63, 64 and 66 of
this Indictment are realleged and incorporated as though fully set forth herein.

111. On or about May 6, 2016, MIZE [-1], TALENTO, PARK, TERESA
GONZALEZ and SMITH staged an accident at the intersection of West Trails Road
and North Flint Road in Spokane, Washington. The staged accident involved a 2000
Jeep Cherokee registered to and insured by TERESA GONZALEZ being purposely
driven into a 2003 Toyota Sequoia registered to and insured by SMITH. TALENTO

(as “Elizabeth Wenzl””) PARK (as “Kaden Wenzl”), TERESA GONZALEZ, and

SMITH subsequently filed fraudulent insurance claims in which they falsely
represented and adopted each others false representations that, among other things,
they were involved in an accident and suffered bodily injury, wage loss, and property
damage as a result of the accident. After the staged accident, MIZE [-1] (as “William
Smith”) sent insurance claim documents on behalf of TALENTO (as “Elizabeth
Wenzl”), PARK (as “Kaden Wenzl”), TERESA GONZALEZ, and SMITH,
knowing that they were false. In exchange for releasing their claims, MIZE [-1] (as
“William Smith”), TALENTO (as “Elizabeth Wenzl”), PARK (as “Kaden Wenzl”),

INDICTMENT — 37

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Case 2:18-cr-00232-TOR ECF No. 1

TERESA GONZALEZ, and SMITH received settlement payouts totaling

approximately $236,324.93 from USAA.

112.

Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below
knowingly caused to be delivered, and aided and abetted each other and others
known and unknown to the Grand Jury to cause to be delivered, through the United

States Mail, the mail matter described below, each count constituting a separate

On or about the dates listed below, in the Eastern District of

count of this Indictment, as follows:

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COUNT

Approximate
Mailing Date

Description

Defendants

39

6/3/2016

USAA Request for Claim
Information mailed to “Elizabeth
Wenzl” into the State of
Washington from USAA outside
the State of Washington

MIZE [-1],
TALENTO,
PARK,
TERESA
GONZALEZ,
SMITH

40

6/3/2016

USAA Request for Claim
Information mailed to “Kaden
Wenzl” into the State of
Washington from USAA outside

the State of Washington

MIZE [-1],
TALENTO,
PARK,
TERESA
GONZALEZ,
SMITH

4]

6/3/2016

USAA Request for Claim
Information mailed to “Shelly L.
Smith” into the State of
Washington from USAA outside
the State of Washington

MIZE [-1],
TALENTO,
PARK,
TERESA
GONZALEZ,
SMITH

42

8/17/2016

Settlement packet for “Elizabeth
Wenzl” mailed from within the
State of Washington to USAA
outside the State of Washington

MIZE [-1],
TALENTO,
PARK,
TERESA
GONZALEZ,
SMITH

INDICTMENT -— 38

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Case 2:18-cr-00232-TOR ECF No. 1

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43

9/21/2016

USAA check no. 0016151583
payable to “Elizabeth Wenz!” in
the amount of $50,000 mailed to
“Elizabeth Wenzl” into the State
of Washington from USAA
outside the State of Washington

MIZE [-1],
TALENTO,
PARK,
TERESA
GONZALEZ,
SMITH

44

10/3/2016

Auto policy limits disclosure
request mailed from within the
State of Washington to USAA
outside the State of Washington

MIZE [-1],
TALENTO,
PARK,
TERESA
GONZALEZ,
SMITH

45

10/11/2016

Settlement packet for “Kaden
Wenzl” mailed from within the
State of Washington to USAA
outside the State of Washington

MIZE [-1],
TALENTO,
PARK,
TERESA
GONZALEZ,
SMITH

46

1/24/2017

USAA check no. 0017341183
payable to “Michele Smith” in the
amount of $98,165.00 mailed to
“Michele Smith” into the State of
Washington from USAA outside
the State of Washington

MIZE [-1],
TALENTO,
PARK,
TERESA
GONZALEZ,
SMITH

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

66 of this Indictment are realleged and incorporated as though fully set forth herein.
On or about September 21, 2016, MIZE, REYES-TAJIMAROA,
HARRIS, BONNEY, ARCEO, and two unindicted co-conspirators (hereinafter,
“UCC-5” and “UCC-6”) staged an accident at the intersection of Ponderosa Road

COUNTS 47-51
(Mail Fraud)

September 21, 2016, Staged Automobile Accident

Paragraphs 1, 6, 9, 10, 13, 14, 27, 48 — 50, 52, 55 — 58, 59, 63, 64 and

INDICTMENT — 39

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aos DN NH PW NYO KH OO MOH HD NH BP WN KF OC

Oo wm nD HA BP WH KH Ee

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and Cactus Way in Recuse, California. The staged accident involved a 2007 BMW
registered to and insured by UCC-5 and UCC-6 being purposely driven into a 2005
Land Rover registered to and insured by HARRIS. REYES-TAJIMAROA (as
“Andrew Arceo”), HARRIS, ARCEO and UCC-5 and UCC-6 subsequently filed
fraudulent insurance claims in which they falsely represented and adopted each
others false representations that, among other things, they were involved in an
accident and suffered bodily injury, wage loss, and property damage as a result of
the accident. After the staged accident, MIZE [-1] (as “Chad Harris”) sent insurance
claim documents on behalf of REYES-TAJIMAROA (as “Andrew Arceo”),
HARRIS and ARCEO, knowing that they were false. In exchange for releasing
their claims, MIZE [-1] (as “Chad Harris”), REYES-TAJIMAROA (as “Andrew
Arceo”) HARRIS, ARCEO, UCC-5 and UCC-6 received settlement payouts
totaling approximately $312,838.20 from CSAA and Amica.

115. On or about the dates listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below
and UCC-5 and UCC-6 knowingly caused to be delivered, and aided and abetted
each other and others known and unknown to the Grand Jury to cause to be
delivered, through the United States Mail, the mail matter described below, each

count constituting a separate count of this Indictment, as follows:

COUNT | Approximate | Description Defendants
Mailing Date
47 2/21/2017 CSAA (AAA Insurance) check | MIZE [-1],

no. 715893270 payable to|REYES-
Brittany Harris and Chad Harris | TAJIMAROA,
in the amount of $100,000 | HARRIS,
mailed to Brittany Harris into the | ARCEO,

State of Washington from CSAA | BONNEY,
(AAA Insurance) outside the |} WELLS

State of Washington

INDICTMENT — 40

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NB BH NH NH KH PN KH ND KN KH KH HB BM HB KF BF OO eS eS
on DN MH Hh WwW NY KF OO OA DWN FBP WW NPY KF CO

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ECF No. 1

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48

2/21/2017

CSAA (AAA Insurance) check
no. 715893271 payable to
Andrew Arceo and R. Ronald
Wells in the amount of $90,000
mailed to Andrew Arceo into the
State of Washington from CSAA
(AAA Insurance) outside the
State of Washington

MIZE [-1],
REYES-
TAJIMAROA,
HARRIS,
ARCEO,
BONNEY,
WELLS

49

2/28/2017

CSAA (AAA Insurance) check
no. 715908961 payable to
Alexander Arceo and R. Ronald
Wells in the amount of $62,500
mailed to Alexander Arceo into
the State of Washington from
CSAA (AAA Insurance) outside
the State of Washington

MIZE [-1],
REYES-
TAJIMAROA,
HARRIS,
ARCEO,
BONNEY,
WELLS

50

3/21/2017

Amica check no. 6434038
payable to Andrew Arceo in the
amount of $10,000 mailed to
Andrew Arceo into the State of
Washington from Amica
outside the State of Washington

MIZE [-1],
REYES-
TAJIMAROA,
HARRIS,
ARCEO,
BONNEY,
WELLS

51

4/4/2017

Amica check no. 143176
payable to Alexander Arceo in
the amount of $10,000 mailed to
Alexander Arceo into the State
of Washington from Amica
outside the State of Washington

MIZE [-1],
REYES-
TAJIMAROA,
HARRIS,
ARCEO,
BONNEY,
WELLS

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.

116.

COUNTS 52-60
(Mail Fraud)

October 16, 2016, Staged Automobile/Boat Accident

Paragraphs 1, 2, 12, 13, 28, 48 — 50, 52, 54, 55, 57, 58, 63, 64 and 66

of this Indictment are realleged and incorporated as though fully set forth herein.

INDICTMENT - 41

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117. On or about October 16, 2016, MIZE [-1], TALENTO, WELLS,
FRANGELLA and others known and unknown to the Grand Jury staged an accident
on Appleway in Liberty Lake, Washington. The staged accident involved a 2015
Ram 3500 truck registered to and insured by WELLS being purposely driven into a
2005 Ford F250 truck registered to and insured by FRANGELLA that was towing a
2005 Baja boat and trailer registered to MIZE [-1]. MIZE [-1], TALENTO (as
“Victoria Talento”), FRANGELLA and WELLS subsequently filed fraudulent
insurance claims in which they falsely represented and adopted each others false
representations that, among other things, they were involved in an accident. MIZE
{-1], TALENTO (as “Victoria Talento”), FRANGELLA and WELLS further falsely
represented that they suffered injuries as a result of the accident. After the staged
accident, MIZE [-1] sent insurance claim documents on behalf of himself,
TALENTO (as “Victoria Talento”), FRANGELLA and WELLS, knowing that they
were false. In exchange for releasing their claims, MIZE [-1], TALENTO
(as“Victoria Talento”), FRANGELLA and WELLS received settlement payouts
totaling approximately $338,266.75 from Safeco.

118. On or about the dates listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below
and an unindicted co-conspirator (hereinafter “UCC-9) knowingly caused to be
delivered, and aided and abetted each other and others known and unknown to the
grand jury to cause to be delivered, through the United States Mail, the mail matter
described below, each count constituting a separate count of this Indictment, as

follows:

INDICTMENT - 42

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Case 2:18-cr-00232-TOR

ECF No. 1

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COUNT

Approximate
Mailing Date

Description

Defendants

52

10/26/2016

Safeco check no. 13874523
payable to William Mize in
the amount of $94,867.49
mailed to William Mize
into the State of
Washington from Safeco
outside the State of
Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

53

10/29/2016

Safeco check no. 13887298
payable to William Mize in
the amount of $14,882.82
mailed to William Mize
into the State of
Washington from Safeco
outside the State of
Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

54

11/3/2016

Safeco check no. 13927695
payable to Numerica Credit
Union in the amount of
$59,557.24 mailed to
Numerica Credit Union into
the State of Washington
from Safeco outside the
State of Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

55

7/19/2017

Settlement Demand
Request for “Victoria
Talento” and supporting
documents mailed from
within the State of
Washington to First
National Insurance
Company outside the State
of Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

INDICTMENT -— 43

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56

8/21/2017

Safeco check no. 15351267
payable to “Victoria
Talento” in the amount of
$2,200.00 mailed to
“Victoria Talento” into the
State of Washington from
Safeco outside the State of
Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

57

9/2/2017

Safeco check no. 15410765
payable to “Victoria
Talento” in the amount of
$1,490.00 mailed to
“Victoria Talento” within
the State of Washington
from Safeco outside the
State of Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

58

9/18/2017

Safeco check no. 15479365
payable to “Victoria
Talento” in the amount of
$5,550.40 mailed to
“Victoria Talento” into the
State of Washington from
Safeco outside the State of
Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

59

10/12/2017

Safeco check no. 15596126
payable to “Victoria
Talento” in the amount of
$54,541.00 mailed to
“Victoria Talento” into the
State of Washington from
Safeco outside the State of
Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

60

12/4/2017

Safeco check no. 15820727
payable to William Mize in
the amount of $95,000.00
mailed to William Mize
into the State of
Washington from Safeco
outside the State of
Washington

MIZE [-1],
TALENTO,
FRANGELLA,
WELLS

INDICTMENT — 44

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All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.
COUNTS 61-70
(Mail Fraud)
November 27, 2017, Staged Automobile Accident

119. Paragraphs 1, 4, 5, 8, 11, 26, 33, 48 — 50, 52, 55 — 58, 63, 64 and 66 of
this Indictment are realleged and incorporated as though fully set forth herein.

120. On or about November 27, 2017, MIZE [-1], TARDY, PARK, BOITO,
CARTER, and others known and unknown to the grand jury staged an accident at
the intersection of South Buffalo Drive and West Ford Avenue in Las Vegas,
Nevada. The staged accident involved a 2007 BMW X3 registered to and insured
by CARTER being purposely driven into a 2008 Cadillac CTS registered to and
insured by TARDY. TARDY, PARK (as “Kaden Wenzl”), BOITO and CARTER
subsequently filed fraudulent insurance claims in which they falsely represented and
adopted each others false representations that, among other things, they were
involved in an accident and suffered bodily injury, wage loss, and property damage
as a result of the accident. After the staged accident, MIZE [-1] (as “William Tardy”)
sent insurance claim documents on behalf of TARDY, PARK (as “Kaden Wenz”),
BOITO and CARTER, knowing that they were false. In exchange for releasing their
claims, MIZE [-1] (as “William Tardy”), TARDY, PARK (as “Kaden Wenz”),
BOITO and CARTER received settlement payouts totaling approximately
$280,016.62 from GEICO and State Farm.

121. On or about the dates listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified below
knowingly caused to be delivered, and aided and abetted each other and others

known and unknown to the Grand Jury to cause to be delivered, through the United

INDICTMENT -— 45

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States Mail, the mail matter described below, each count constituting a separate

count of this Indictment, as follows:

COUNT

Approximate
Mailing Date

Description

Defendants

61

2/2/2018

GEICO check no.
194367141 payable to
“Kaden Wenzl” in_ the
amount of $1,110.97 mailed
to “Kaden Wenzl” into the
State of Washington from
GEICO outside the State of
Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

62

2/5/2018

GEICO check no.
194369335 payable to
Kimberly Boito in the
amount of $1,110.97 mailed
to Kimberly Boito into the
State of Washington from
GEICO outside the State of
Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

63

2/5/2018

GEICO check no.
194369264 payable to
Kimberly Boito in the
amount of $1,368.82 mailed
to Kimberly Boito into the
State of Washington from
GEICO outside the State of
Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

64

2/5/2018

GEICO check no.
194370205 payable to
“Kaden Wenzl” in the
amount of $2,964.03 mailed
to Kaden Wenzl into the
State of Washington from
GEICO outside the State of
Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

INDICTMENT — 46

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65 2/5/2018

GEICO check no.
194369284 payable to
Kimberly Boito in the
amount of $391.21 mailed to
Kimberly Boito into the State
of Washington from GEICO
outside the State of
Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

66 2/5/2018

GEICO check no.
194368035 payable to
Kimberly Boito in the
amount of $484.00 mailed to
Kimberly Boito into the State
of Washington from GEICO
outside the State of
Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

67 2/5/2018

GEICO check no.
194369278 payable to
Kimberly Boito in _ the
amount of $308.00 mailed to
Kimberly Boito into the State
of Washington from GEICO
outside the State of
Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

68 3/8/2018

State Farm check no.
1241181149 payable to
Kimberly Boito in the
amount of $100,000.00
mailed to Kimberly Boito
into the State of Washington
from State Farm outside the
State of Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

69 3/8/2018

State Farm check no.
1241181143 payable to
Kaden Wenzl in the amount
of $47,500.00 mailed to
Kaden Wenzl into the State
of Washington from State
Farm outside the State of
Washington

MIZE [-1],
TARDY,
PARK,
BOITO,
CARTER

INDICTMENT — 47

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70 4/8/2018 Settlement Demand Package | MIZE [-1],
for Angela Tardy and} TARDY,
supporting documents | PARK,

mailed from within the State | BOITO,
of Washington to GEICO | CARTER
outside the State of

Washington

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.
, COUNT 71
(Mail Fraud)
November 29, 2017 Staged Automobile Accident

122. Paragraphs 1, 2, 20, 22, 37, 39, 48 — 50, 52, 55 — 58, 63, 64, and 66 of
this Indictment are realleged and incorporated as though fully set forth herein.

123.  Onor about November 29, 2017, MIZE, TALENTO, WHITE,
SHARP and others known and unknown to the grand jury staged an accident at the
intersection of Sandy Ridge Avenue and Rye Beach Lane in Henderson, Nevada.
The staged accident involved a 2007 BMW 530XI registered to an individual not
named herein and insured by an individual not named herein being purposely
driven into a 2014 Ford Fusion registered to and insured by an individual not
named herein. MIZE [-1] (as “William Sharp”), TALENTO (as “Eve S. Novak”),
WHITE, SHARP and individuals not named herein, subsequently filed fraudulent
insurance claims in which they falsely represented and adopted each others false
representations that, among other things, they were involved in an accident and
suffered bodily injury, wage loss, and property damage as a result of the accident.
After the staged accident, MIZE [-1] (as “William Sharp’) sent insurance claim
documents on behalf of TALENTO (as “Eve S. Novak”) WHITE and SHARP,
knowing that they were false. In exchange for releasing their claims, MIZE [-1]
(as “William Sharp”), TALENTO (as “Eve S. Novak”) WHITE, SHARP and two
INDICTMENT -— 48

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individuals not named herein received settlement payouts totaling approximately
$385,205.95 from USAA and Farmers.

124. On or about the date listed below, in the Eastern District of
Washington and elsewhere, for the purpose of executing and attempting to execute
the above-described scheme and artifice to defraud, the Defendants identified
below and an individual not named herein knowingly caused to be delivered, and
aided and abetted each other and others known and unknown to the Grand Jury to
cause to be delivered, through the United States Mail, the mail matter described

below, each count constituting a separate count of this Indictment, as follows:

COUNT | Approximate Description Defendants
Mailing Date
71 2/12/2018 Settlement Demand Request | MIZE [-1],

and supporting documents | TALENTO,
for “Randy Sharp,” “Mike WHITE,
White, and “Eve Novak” SHARP
mailed from within the State
of Washington to USAA
outside the State of
Washington

All in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2.
COUNT 72
(Mail Fraud)
December 5, 2017, Staged Automobile Accident

125. Paragraphs 1, 2, 23, 25, 48 — 50, 52, 54, 55, 57 — 58, 63, 64, and 66 of
this Indictment are realleged and incorporated as though fully set forth herein.

126. On or about December 5, 2017, MIZE [-1], TALENTO, and others
known and unknown to the Grand Jury staged an accident near the intersection of
New York Ranch Road and China Graveyard Road in Amador County, California.
The staged accident involved a 2007 Chevrolet Silverado pickup truck registered to

INDICTMENT — 49

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and insured by and individual not named herein being purposely driven into a 2006
Bentley Arnage registered to and insured by MIZE [-1]. MIZE [-1]Jand TALENTO
subsequently filed fraudulent insurance claims in which they falsely represented and
adopted each others false representations that, among other things, they were
involved in an accident and suffered bodily injury, wage loss, and property damage
as a result of the accident. After the staged accident, MIZE [-1] (as “Bill Mize”) and
TALENTO (as “Victoria Talento”) sent insurance documents, knowing that they
were false. In exchange for releasing their claims, MIZE [-1], TALENTO and an
individual not named herein received settlement payouts totaling approximately
$54,548.82 from Esurance and Amica Insurance.

127. | Onor about the date listed below, in the Eastern District of Washington
and elsewhere, for the purpose of executing and attempting to execute the above-
described scheme and artifice to defraud, the Defendants identified below and an
individual not named herein knowingly caused to be delivered, and aided and abetted
each other and others known and unknown to the grand jury to cause to be delivered,
through the United States Mail, the mail matter described below, each count

constituting a separate count of this Indictment, as follows:

COUNT Approximate Description Defendants
Mailing Date
72 4/12/2018 Settlement Demand | MIZE [-1],
Package including | TALENTO
medical records,

notes and billing for
“Bill Mize” and
“Victoria Talento”
and supporting
documents mailed
from within the State
of Washington to
Esurance outside the
State of Washington

INDICTMENT — 50

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All in violation of 18 U.S.C. § 1343 and 18 U.S.C. § 2.
COUNT 73
(Conspiracy to Commit Mail/Wire Fraud)

128. Paragraphs 1 through 127 of this Indictment are realleged and
incorporated as though fully set forth herein.

129. Onor about April 14, 2013, MIZE [-1], TALENTO, MIZE [-3], PARK,
and an individual not named herein staged an accident at the intersection of Hualapai
Way and Reno Avenue in Las Vegas, Nevada. The staged accident involved a 2004
Infiniti FX35 registered to and insured by an individual not named herein being
purposely driven into a 2002 Jaguar Vanden Plas registered to and insured by
TALENTO. MIZE [-1], TALENTO, MIZE [-3], PARK and an individual not named
herein subsequently filed fraudulent insurance claims in which they falsely
represented and adopted each others false representations that, among other things,
TALENTO and PARK suffered injuries as a result of the accident. After the staged
accident, MIZE [-1] sent insurance claim documents on behalf of TALENTO, MIZE
[-3], PARK and an individual not named herein, knowing that they were false. In
exchange for releasing their claims, MIZE [-1], TALENTO, MIZE [-3], PARK and
individual not named herein received settlement payouts totaling approximately
$335,698.13 from Progressive and CSAA.

130. On or about May 19, 2013, MIZE [-1], TALENTO, REYES-
TAJIMAROA, an unindicted co-conspirator (hereinafter “UCC-7”), and others
known and unknown to the grand jury staged an accident at the intersection of West
Trails Road and West Euclid Road in Spokane, Washington. The staged accident
involved a 2005 Chevrolet Tahoe registered to and insured by UCC-7 being
purposely driven into a 2001 Bentley Amage registered to and insured by MIZE [-
1] and TALENTO. After the crash, MIZE [-1] exited the 2005 Chevrolet Tahoe and

was driven away in a third vehicle before law enforcement officers and emergency

INDICTMENT — 51

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personnel arrived. At MIZE [-1]’s instructions, UCC-7 falsely represented that
UCC-7 was driving the Tahoe at the time of the crash and how the crash occurred.
MIZE, TALENTO, REYES-TAJIMAROA (as “Tajimaroa Andrade”) and UCC-7
subsequently filed fraudulent insurance claims in which they falsely represented and
adopted each others false representations that, among other things, the accident was
caused by UCC-7. MIZE [-1], TALENTO and REYES-TAJIMAROA (as
“Tajimaroa Andrade”) further falsely represented that TALENTO and REYES-
TAJIMAROA (as “Tajimaroa Andrade”) suffered injuries and lost wages as a result
of the accident. In exchange for releasing their claims, MIZE [-1], TALENTO,
REYES-TAJIMAROA (as “Tajimaroa Andrade”) and UCC-7 received settlement
payouts totaling approximately $298,187.04 from Hartford and Farmers.

131. On or about September 5, 2013, MIZE [-1], PARK, FRANGELLA,
SHARP and others known and unknown to the grand jury staged an accident at the
intersection of Wigwam Parkway and Aura De Blanco Street in Henderson, Nevada.
The staged accident involved a 2003 GMC Sierra pickup truck registered to and
insured by SHARP being purposely driven into a 2004 Cadillac Escalade registered
to and insured by PARK. MIZE [-1] (as “William Park”) PARK, FRANGELLA,
and SHARP subsequently filed fraudulent insurance claims in which they falsely
represented and adopted each others false representations that, among other things,
PARK and FRANGELLA suffered injuries as a result of the accident. In exchange
for releasing their claims, MIZE [-1] (as “William Park”) PARK, FRANGELLA,
and SHARP received settlement payouts totaling approximately $142,761.33 from
Farmers.

132.  Onor about June 25, 2014, MIZE [-1], TALENTO and PARK staged a
stair fall accident at a residence in Henderson, Nevada. MIZE [-1] (as “Phillip
Smith”) TALENTO and PARK (as “Michael Ryan Smith”) subsequently filed

fraudulent insurance claims in which they falsely represented and adopted each

INDICTMENT — 52

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others false representations that, among other things, PARK (as “Michael Ryan
Smith”) suffered injuries and lost wages as a result of the accident. In exchange for
releasing their claims, MIZE [-1] (as “Phillip Smith”) TALENTO and PARK (as
“Michael Ryan Smith”) received settlement payouts totaling approximately
$125,000.00 from CSAA.

133. On or about January 4, 2015, MIZE [-1], REYES-TAJIMAROA,
JESSICA GONZALEZ, and others known and unknown to the grand jury staged an
accident at the intersection of East Hualapai Way and Reno Avenue in Las Vegas,
Nevada. The staged accident involved a 2005 Mercury Grand Marquis registered to
and insured by an individual not named herein being purposely driven into a 2006
Jaguar S-Type registered to and insured by an individual not named herein. MIZE
[-1] (as “Phillip Novak”) REYES-TAJIMAROA (as “Misael Andrade”) and
JESSICA GONZALEZ subsequently filed fraudulent insurance claims in which they
falsely represented and adopted each others false representations that, among other
things, REYES-TAJIMAROA (as “Misael Andrade”) and JESSICA GONZALEZ
suffered injuries as a result of the accident. In exchange for releasing their claims,
MIZE [-1] (as “Phillip Novak”), REYES-TAJIMAROA (as “Misael Andrade”),
JESSICA GONZALEZ and others known and unknown received settlement payouts
totaling approximately $221,647.44 from Hartford and Allstate.

134. On or about July 8, 2015, MIZE [-1], PARK, BOITO, FRANGELLA
and an unindicted co-conspirator (hereinafter, “UCC-8”) and others known and
unknown to the grand jury staged an accident at the intersection of West Reno
Avenue and South Hualapai Way in Las Vegas, Nevada. The staged accident
involved a 2013 Dodge Grand Caravan rented in the name of UCC-8 being
purposely driven into a 2004 Mercury Mountaineer registered to an individual not
named herein. MIZE [-1] (as “Phillip Boito”), PARK (as “Michael Smith”), BOITO,
FRANGELLA and UCC-8 subsequently filed fraudulent insurance claims in which

INDICTMENT — 33

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they falsely represented and adopted each others false representations that, among
other things, PARK (as “Michael Smith”), BOITO and FRANGELLA suffered
injuries as a result of the accident. In exchange for releasing their claims, MIZE [-
1] (as “Phillip Boito”), PARK (as “Michael Smith”), BOITO, FRANGELLA and
UCC-8 received settlement payouts totaling approximately $282,704.86 from
Safeco, Hertz, and GEICO.

135. On or about September 17, 2015, MIZE [-1], TALENTO, REYES-
TAJIMAROA, and others known and unknown to the Grand Jury staged an accident
involving a boating accident at Silver Beach Marina in Coeur d’Alene, Idaho. The
staged accident involved a 1990 37-foot Bayliner Avanti boat registered to and
insured by MIZE [-1]. MIZE [-1], TALENTO (as “Rita Gonzalez”) and REYES-
TAJIMAROA (as “Alexander Misael Gonzalez”) subsequently filed fraudulent
insurance claims in which they falsely represented that REYES-TAJIMAROA (as
“Alexander Misael Gonzalez”) suffered injuries as a result of the accident. In
exchange for releasing their claims, MIZE [-1], TALENTO (as “Rita Gonzalez”).
REYES-TAJIMAROA (as “Alexander Misael Gonzalez’) and WELLS received
settlement payouts totaling approximately $235,000.00 from Travelers.

136. On or about September 19, 2017, MIZE [-1], PARK, HARRIS, and
FRANGELLA staged an accident involving a boating accident at the Coeur d’ Alene
Resort Marina in Coeur d’Alene, Idaho. The staged accident involved a 1995 20-
foot Chaparral Model 2135 boat registered to and insured by HARRIS. MIZE [-1]
(as “William Frangella”), PARK (as “Joseph Ryan Frangella”), HARRIS,
FRANGELLA and others known and unknown to the Grand Jury subsequently filed
fraudulent insurance claims in which they falsely represented that PARK (as “Joseph
Ryan Frangella”) suffered injuries as a result of the accident. In exchange for

releasing their claims, MIZE [-1] (as “William Frangella”) PARK (as “Joseph Ryan

INDICTMENT — 54

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Frangella”) HARRIS and FRANGELLA received settlement payouts totaling
approximately $110,000.00 from Allied and Nationwide.

137. Beginning on or about a date unknown to the Grand Jury, but no later
than November 5, 2011, and continuing through on or about April 12, 2018, in the
Eastern District of Washington and elsewhere, the Defendants MIZE [-1],
TALENTO, MIZE [-3], TARDY, PARK, REYES-TAJIMAROA, JESSICA
GONZALEZ, BONNEY, HARRIS, BOITO, FRANGELLA, WELLS, ARCEO,
RAUL GONZALEZ, TERESA GONZALEZ, SMITH, CARTER, MEZA-
AMEZCUA, STOCK, WHITE, WESTFALL and SHARP did willfully, that is, with
the intent to further the objects of the conspiracy, and knowingly combine, conspire,
confederate and agree together and with others known and unknown to the Grand
Jury, to:

(a) knowingly, and with intent to defraud, devise and intend to devise a
material scheme and artifice to defraud various insurance companies
and to obtain money and property from insurance companies by means
of materially false and fraudulent pretenses, representations, and
promises, knowing that the pretenses, representations, and promises,
were false and fraudulent when made, and did knowingly cause to be
delivered by mail matter by the United States Postal Service and by
private and commercial interstate carrier, according to directions
thereon, the purpose of executing the scheme and artifice, in violation
of 18 U.S.C. § 1341;

(b) knowingly, and with intent to defraud, devise and intend to devise a
material scheme and artifice to defraud various insurance companies
and to obtain money and property from insurance companies by means
of materially false and fraudulent pretenses, representations, and

promises, knowing that the pretenses, representations, and promises,

INDICTMENT — 55

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were false and fraudulent when made, and did knowingly transmit and

cause to be transmitted in interstate commerce, by means of wire

communication, certain writings, signs, signals, pictures and sounds,

for the purpose of executing the scheme and artifice, in violation of 18

U.S.C. § 1343.
All in violation of 18 U.S.C. § 1349.

COUNT 74
(Conspiracy to Commit Health Care Fraud)
138. Paragraphs 1 — 6, 8, 9, 14, 18, 22, 25 - 28, 32, 33, 37, 39, 48 — 50, 52 -
60, 63 — 66, 72, 73, 78, 79, 88 — 90, 92, 105, 106, 114, 115, 123, 124, 130, and 134
of this Indictment are realleged and incorporated as though fully set forth herein.
139. Beginning on or about a date unknown to the Grand Jury, but no later

than October 19, 2013, and continuing through on or about April 4, 2017, in the
Eastern District of Washington and elsewhere, the Defendants MIZE [-1],
TALENTO, MIZE [-3], TARDY, PARK, REYES-TAJIMAROA, HARRIS,
BOITO, ARCEO, MEZA-AMEZCUA and SHARP did willfully, that is, with the
intent to further the objects of the conspiracy, and knowingly combine, conspire,
confederate and agree together and with others known and unknown to the Grand
Jury, to execute and attempt to execute a scheme and artifice to defraud a health
care benefit program, and to obtain, by means of false and fraudulent pretenses,
representations, and promises, money and property owned by, and under the
custody and control of, a health care benefit program as defined in 18 U.S.C. §
24(b), in connection with the delivery of an payment for healthcare benefits, items
and services, in violation of 18 U.S.C. § 1347.
All in violation of 18 U.S.C. § 1349.

INDICTMENT — 56

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COUNTS 75 — 100
(Monetary Transactions in Property Derived from Specified Unlawful Activity)
140. On or about the dates set forth below, each such date constituting a
separate count of this Indictment, in the Eastern District of Washington and
elsewhere, the Defendants identified below, aided and abetted by others known and

unknown to the grand jury, did knowingly engage, and attempt to engage, in a

monetary transaction affecting interstate and foreign commerce in criminally

derived property of a value greater than $10,000.00, such property having been
derived from a specified unlawful activity, namely Mail Fraud in violation of 18
U.S.C. § 1341, Wire Fraud, in violation of 18 U.S.C. § 1343, and Conspiracy to
Commit Mail Fraud and Wire Fraud, in violation of 18 U.S.C. §§ 1341, 1343, 1349
as more fully described in Counts 6, 12, 13, 15, 16, 23, 36, 43, 48, 49 and 73 of this

Indictment, to wit:

COUNT | Approximate | Monetary Count Defendant
Date Transaction Alleging
Specified
Unlawful
Activity

75 01/02/2014 $38,000 cash 73 PARK
withdrawal from
WEB account

number ending -
4588

76 01/09/2014 $40,000 check 73 MIZE [1]
drawn on JPMC TALENTO
account number
ending — 7856, made
payable to MIZE and
deposited to
Scottrade Account

number ending -
1051

INDICTMENT — 57

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77

02/25/2014

$50,000 cash
withdrawal from
BOA account
number ending -

4824

REYES-
TAJIMAROA

78

03/11 /2614>
QPIS

CAish9

$75,000 cash
withdrawal from
WEB account
number ending -
4588

16

PARK

a9

09/30/2014

$20,000 cash
withdrawal from
JPMC account

number ending -
8763

Le

JESSICA
GONZALEZ

80

09/30/2014

$30,000 cash
withdrawal from
JPMC account
number ending -

8763

12

JESSICA
GONZALEZ

81

10/06/2014

$90,000 cash
withdrawal from
JPMC account
number ending -

6259

13,15

BOITO

82

10/08/2014

$20,000 Cashier’s
Check purchased
from the JPMC
account number
ending -8763, made
payable to REYES-
TAJIMAROA and
deposited to BOA
account ending -
0101

12

REYES-
TAJIMAROA,
JESSICA
GONZALEZ

INDICTMENT — 58

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83 10/14/2014 $30,000 check 13,15 MIZE [-1],
drawn on JPMC BOITO
account number
ending -6259, made
payable to MIZE [-
1] and deposited to
JPMC account
number ending -
7577

Oo Os DB A fF WW NHN

84 12/29/2014 $70,000 cash 73 BOITO
withdrawal from
JPMC account
ending -6259

85 03/20/2015 $15,000 cash 73 JESSICA
withdrawal from GONZALEZ
JPMC account
number ending -
8763

86 03/23/2015 $30,000 cash 73 REYES-
withdrawal from TAJIMAROA
JPMC account

number ending -
6532

87 04/29/2015 $15,000 check 23 MIZE [-1],
drawn on JPMC BOITO
account number
ending -6259, made
payable to MIZE [-
1] and deposited to
JPMC account
number ending-7577

88 04/30/2015 $13,000 check 23 MIZE [-1],
drawn on JPMC BOITO
account number
ending -6259, made ©
payable to MIZE [-
1] and deposited to
CNB account
number ending -

1571

INDICTMENT — 59

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89

07/07/2015

$80,000 cash
withdrawal from
WFB account

number ending -
4588

36, 73

PARK

90

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Bt
Nigh

$12,000 check
drawn on WFB
account number
ending -4588, made
payable to MIZE [-
1] and deposited to
CNB account

number ending -
1571

36, 73

MIZE [-1]
PARK

?

91

07/09/2015

$50,000 check
drawn on Banner
Bank account
number ending -
4966, made payable
to MIZE [-1]

73

MIZE [-1],
BOITO

92

07/10/2015

$47,000 cash
withdrawal from
JPMC account
number ending -

6532

73

REYES-
TAJIMAROA

93

09/04/2015

$70,000 cash
withdrawal from
JPMC account
number ending -
6532

73

REYES-
TAJIMAROA

94

10/29/2015

$50,000 check
drawn on JPMC
account number
ending -6259, made
payable to MIZE [-
1] and deposited into
Scottrade account

number ending -
1051

73

MIZE [-1],
BOITO

INDICTMENT — 60

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95

10/29/2015

$52,500 check
drawn on the JPMC
account number
ending -8763, made
payable to MIZE [-
1] and deposited to
WEB account
number ending -
6918

73

MIZE [-1],
JESSICA

GONZALEZ

96

10/30/2015

$28,000 check
drawn on JPMC
account number
ending -6259, made
payable to MIZE [-
1] and deposited into
Umpqua Bank
account number
ending -2593

73

MIZE [-1],
BOITO

97

04/21/2016

Teller transfer in the
amount of $225,000,
from WFB account
number ending -
3133 to WFB
account number
ending -6918

73

MIZE [-1],
WELLS

98

09/30/2016

$20,000 check
drawn on JPMC
account number
ending -6259, made
payable to MIZE [-
1] and deposited into
the WFB account
number ending -
6918

43

MIZE [-1],
BOITO

INDICTMENT - 61

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99 10/03/2016 $20,000 check 43 MIZE [-1],
drawn on JPMC BOITO
account number
ending -6259, made
payable to MIZE [-
1] and deposited into
the BOA account
number ending -
1577

100 03/21/2017 $100,319.56 48, 49 MIZE [-1],
Cashier’s Check WELLS
purchased from
WEB account
number ending —
3133 made payable
to BOA account
number ending - —
2622, paying off
mortgage on
property in Spokane,

Washington

All in violation of 18 U.S.C. § 1957 and 18 U.S.C. § 2.
COUNT 101
(Conspiracy to Conduct Monetary Transactions in Property Derived from
. Specified Unlawful Activity)

141. Paragraph 140 of this Indictment is realleged and incorporated as
though fully set forth herein.

142. | Beginning on or about a date unknown to the grand jury, but no later
than September 11, 2013, and continuing through on or about April 12, 2018, in the
Eastern District of Washington and elsewhere, the Defendants MIZE [-1],
TALENTO, PARK, REYES-TAJIMAROA, JESSICA GONZALEZ, BOITO and
WELLS did knowingly conspire, confederate, and agree with each other and with

other persons known and unknown to the Grand Jury to commit offenses against the

INDICTMENT — 62

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United States in violation of 18 U.S.C. § 1956 and 1957, to wit: to knowingly engage
and attempt to engage, in monetary transactions, by, through or to a financial
institution, affecting interstate and foreign commerce, in criminally derived property
of a value greater than $10,000, such property having been derived from a specified
unlawful activity, that is mail fraud, wire fraud and conspiracy to commit mail fraud
and wire fraud, in violation of 18 U.S.C. § 1957.

All in violation of 18 U.S.C. § 1956(h).

NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

143. The Introductory Allegations contained in paragraphs 1 — 47; the
General Allegations contained in paragraphs 46 — 67; and, the allegations
contained in Counts 1 — 101 of this Indictment, are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeitures.

I. DEFENDANT WILLIAM OLDHAM MIZE (“MIZE [-1]’”)

144. Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon
conviction of Mail Fraud, in violation of 18 U.S.C. § 1341, as set forth in Counts
1-8, 10— 13, 16, 18 — 24, and 26 — 72 of this Indictment; pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of Wire Fraud, in violation
of 18 U.S.C. 1343, as set forth in Counts 9, 14, 15, 17, and 25 of this Indictment;
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of
Conspiracy to Commit Mail Fraud and Wire Fraud, in violation of 18 U.S.C.

§§ 1341, 1343, 1346, set forth in Count 73 of this Indictment; pursuant to 18

U.S.C. § 982(a)(7), upon conviction of Conspiracy to Commit Healthcare Fraud, in
violation of 18 U.S.C. §§ 1347, 1349, set forth in Count 74 of this Indictment;
pursuant to 18 U.S.C. § 982(a)(1), and/or pursuant to 18 U.S.C. § 981(a)(1)(A) and
28 U.S.C. § 2461(c), upon conviction of Conspiracy to Commit Money
Laundering, in violation of 18 U.S.C. §§ 1957, 1956(h), set forth in Count 101 of

INDICTMENT -— 63

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this Indictment, Defendant, MIZE [-1], shall forfeit to the United States of
America:

Mail Fraud, Wire Fraud and Conspiracy to Commit Mail and Wire Fraud:

Any property, real or personal, which constitutes or is derived from proceeds
traceable to the offenses;

Conspiracy to Commit Healthcare Fraud:

Property, real or personal, that constitutes or is derived, directly or
indirectly, from gross proceeds traceable to the commission of the
offense(s);

Conspiracy to Commit Money Laundering:

Any property, real or personal, which constitutes or is derived from proceeds
traceable to the violation; and/or any property, real or personal, involved in
such offenses, and any property traceable to such property;

The property subject to forfeiture includes, but is not limited to, the
following:

A. MONEY JUDGMENT

1. A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the mail fraud offense(s).

2. Asum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the wire fraud offense(s).

3. A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the Conspiracy to Commit Healthcare Fraud
offense(s).

4. A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the Conspiracy to Commit Money Laundering
offense(s).

INDICTMENT -— 64

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B.

REAL PROPERTY

l.

Real property known as 7416 North Birch Court, Spokane,

Washington, Tax I[D/Parcel #: 26251.0213, legally
described as follows:

LOT 13, BLOCK 2, PANORAMA TERRACE
ADDITION, ACCORDING TO PLAT RECORDED IN
VOLUME 9 OF PLATS, PAGE 25, IN THE CITY OF
SPOKANE, SPOKANE COUNTY, WASHINGTON.

Real property known as 3326 North Indian Bluff Road,

Spokane, Washington, Tax ID/Parcel #: 25044.9045,
legally described as follows:

ALL THAT CERTAIN REAL PROPERTY SITUATED
IN THE WEST HALF OF THE SOUTHEAST
QUARTER OF SECTION 4, TOWNSHIP 25 NORTH,
RANGE 42 EAST, WILLAMETTE MERIDIAN, BEING
MORE PARTICULARLY DESCRIBED AS FOLLOWS:

COMMENCING AT THE NORTHWESTERLY
CORNER OF SAID WEST HALF OF THE
SOUTHEAST QUARTER;

THENCE FROM SAID POINT OF COMMENCEMENT
SOUTH 01 DEGREE 48' 46" EAST ALONG THE
WESTERLY LINE SAID WEST HALF A DISTANCE
OF 1903.59 FEET TO THE POINT OF BEGINNING;

THENCE FROM SAID POINT OF BEGINNING AND
LEAVING SAID LINE, SOUTH 87 DEGREES 30' 45"
EAST 852.76 FEET;

THENCE SOUTH 75 DEGREES 10' 46" EAST 530.90
FEET TO A POINT ON THE EASTERLY LINE SAID
WEST HALF;

“THENCE SOUTH 01 DEGREE 07' 48" EAST ALONG

SAID EASTERLY LINE 549.23 FEET TO THE
SOUTHEASTERLY CORNER OF SAID WEST HALF;

THENCE NORTH 89 DEGREES 08' 05" WEST ALONG
THE SOUTHERLY LINE OF SAID WEST HALF A
DISTANCE OF 516.26 FEET;

INDICTMENT — 65

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THENCE LEAVING SAID LINE NORTH 38 DEGREES
23' 01" EAST 354.28 FEET;

THENCE NORTH 53 DEGREES 46' 06" WEST 340.51
FEET;

THENCE NORTH 87 DEGREES 30' 45" WEST 799.55
FEET TO A POINT ON THE WESTERLY LINE OF
SAID SOUTHEAST QUARTER;

THENCE ALONG SAID WESTERLY LINE NORTH 01
DEGREE 46' 46" WEST A DISTANCE OF 200.57 FEET
TO THE POINT OF BEGINNING;

EXCEPTING THEREFROM THE 60 FEET WIDE
RIGHT OF WAY OF INDIAN BLUFF ROAD;

SAID PARCEL ALSO BEING DELINEATED AS
TRACT 7 OF THAT CERTAIN SURVEY RECORDED
MAY 13, 1983, UNDER AUDITOR'S FILE NO.
8305130031 IN SURVEY BOOK 29, PAGES 67 AND
68;

SITUATE IN THE COUNTY OF SPOKANE, STATE
OF WASHINGTON.

Tax ID: 25044.9045

Real property known as 1311 South Westcliff Place Unit
#603, Spokane, Washington, Tax I[D/Parcel #:
25233.1143, legally described as follows:

UNIT 603, WESTCLIFF SOUTH, A CONDOMINIUM,
AS SHOWN ON SURVEY MAP AND FLOOR PLAN
RECORDED APRIL 11, 1973, IN VOLUME 1 OF
CONDOMINIUMS, PAGES 61 THROUGH 71, UNDER
RECORDING NO. 7304110243 AND IS IDENTIFIED
IN DECLARATION RECORDED MARCH 30, 1973
UNDER RECORDING NO. 7303300336.

Real property known as 4150 Sanderling Circle, #454, Las
Vegas, Nevada 89103, Tax ID/Parcel #: 162-18-616-230,

legally described as follows:

SPRING OAKS LOT J 2X? AMD PLAT BOOK 36 PAGE
63 UNIT 454

INDICTMENT — 66

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C. BOAT SLIP

I.

The Subleasehold Estate held by WILLIAM MIZE in
certain real property commonly described as Pier 39
Marina, Slip F-14, San Francisco, California, created
pursuant to the Assignment of Sublease by Sublease dated
July 10, 2017 by and between THE LAWRENCE W
STEWART AND CATHY STEWART REVOCABLE
TRUST DATED MARCH 17, 2015, Assignor, and
WILLIAM MIZE, Assignee, recorded in the Official
Records of the City and County of San Francisco, as
Document 2017-K479100-00, for that certain
Memorandum of Sublease dated July 24, 1984, as
executed by PIER 39 LIMITED PARTNERSHIP, a
California Limited Partnership, as Sublessor, and THE
LAWRENCE W STEWART AND CATHY STEWART
REVOCABLE TRUST DATED MARCH 17, 2015, as
Sublessee, and recorded in the Official Records of the City
and County of San Francisco, as Document D527, the
Term of the Sublease expiring September 19, 2034.

D. BANK/ESCROW ACCOUNT(S)

1.

$148,138.13 in U.S. funds seized by the Internal Revenue
Service-Criminal Investigation pursuant to a federal
seizure warrant on or about May 17, 2018, from Bank of
America account ending in 1577 in the name of
WILLIAM MIZE.

$42,692.50 in U.S. funds seized by the Internal Revenue
Service-Criminal Investigation pursuant to a federal
seizure warrant on or about May 17, 2018, from Wells
Fargo Bank account ending in 6918 in the name of
WILLIAM MIZE.

$260,000.00 in U.S funds held in escrow by First
American Title Company in account number ending in
0000 at First American Trust, Escrow File #: 4251-3-
56047, seized by the Federal Bureau of Investigation
pursuant to a federal seizure warrant on or about May 23,
2018.

INDICTMENT — 67

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E.. CURRENCY

1. $42,147.00 U.S. currency seized by the Federal Bureau of
Investigation pursuant to the execution of a federal search
and seizure warrant on or about May 17, 2018.

F, CONVEYANCES

1. 2017 Jaguar F-Pace, Washington License Plate
BCG0859, VIN: SADCK2BV9HA074880

2. 2005 Sea Ray VDR 44.8’ fiberglass hull boat, Hull No.:
SEF0657E505, California Registration No.: 1174343,
Vessel Name: Victoria Eve.

3. 2008 Bentley Continental, Washington License Plate
AYE0086, VIN: SCBCP73WX8C054601.

145. Pursuant to 18 U.S.C. § 982(a)(1), upon conviction of Monetary

Transactions in Property Derived from Specified Unlawful Activity, in violation of
18 U.S.C. § 1957, set forth in Counts 76, 83, 87, 88, 90, 91, 94 - 100 of this
Indictment, Defendant, MIZE [-1], shall forfeit to the United States of America,
any property, real or personal, which constitutes or is derived from proceeds
traceable to the violation; and/or pursuant to 18 U.S.C. § 981(a)(1)(A) and 28
U.S.C. § 2461(c), Defendant, MIZE [-1], shall forfeit to the United States of
America, any property, real or personal, involved in such offenses, and any

property traceable to such property. The property subject to forfeiture includes,

‘|| but is not limited to, the following:

G. MONEY JUDGMENT

1. A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the Monetary Transactions in Property Derived
from Specified Unlawful Activity offense(s).

II. DEFENDANT SANDRA TALENTO
146. Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon
conviction of Mail Fraud, in violation of 18 U.S.C. § 1341, as set forth in Counts

INDICTMENT - 68

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1-3, 7-9, 16, 18 — 24, 26 — 34, 39 — 46, 52 — 60, and 71 — 72 of this Indictment;
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of
Wire Fraud, in violation of 18 U.S.C. 1343, set forth in Counts 15, 17 and 25, of
this Indictment; pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
upon conviction of Conspiracy to Commit Mail Fraud and Wire Fraud, in violation
of 18 U.S.C. §§ 1341, 1343, 1346, set forth in Count 73 of this Indictment;
pursuant to 18 U.S.C. § 982(a)(7), upon conviction of Conspiracy to Commit
Healthcare Fraud, in violation of 18 U.S.C. §§ 1347, 1349, set forth in Count 74 of
this Indictment; pursuant to 18 U.S.C. § 982(a)(1) and/or pursuant to 18 U.S.C.

§ 981(a)(1)(A) and 28 U.S.C. § 2461(c), upon conviction of Conspiracy to Commit
Money Laundering, in violation of 18 U.S.C. §§ 1957, 1956(h), set forth in Count
101 of this Indictment, Defendant, SANDRA VICTORIA TALENTO, shall forfeit
to the United States of America:

Mail Fraud, Wire Fraud and Conspiracy to Commit Mail and Wire Fraud:

Any property, real or personal, which constitutes or is derived from proceeds
traceable to the offenses;

Conspiracy to Commit Healthcare Fraud:

Property, real or personal, that constitutes or is derived, directly or
indirectly, from gross proceeds traceable to the commission of th
offense(s); |

Conspiracy to Commit Money Laundering:

Any property, real or personal, which constitutes or is derived from proceeds
traceable to the violation; and/or any property, real or personal, involved in
such offenses, and any property traceable to such property;

The property subject to forfeiture includes, but is not limited to, the

following:

INDICTMENT — 69

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A. MONEY JUDGMENT

1.

A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant
as a result of the mail fraud offense(s).

A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant
as a result of the wire fraud offense(s).

A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant
as a result of the Conspiracy to Commit Healthcare Fraud
offense(s).

A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant
as a result of the Conspiracy to Commit Money
Laundering offense(s).

B. REAL PROPERTY

1.

Real property known as 7416 North Birch Court, Spokane,
Washington, Tax ID/Parcel #: 26251.0213, legally
described as follows:

LOT 13, BLOCK 2, PANORAMA TERRACE
ADDITION, ACCORDING TO PLAT RECORDED IN
VOLUME 9 OF PLATS, PAGE 25, IN THE CITY OF
SPOKANE, SPOKANE COUNTY, WASHINGTON.

Real property known as 3326 North Indian Bluff Road,
Spokane, Washington, Tax ID/Parcel #: 25044.9045,
legally described as follows:

ALL THAT CERTAIN REAL PROPERTY SITUATED
IN THE WEST HALF OF THE SOUTHEAST
QUARTER OF SECTION 4, TOWNSHIP 25 NORTH,
RANGE 42 EAST, WILLAMETTE MERIDIAN, BEING
MORE PARTICULARLY DESCRIBED AS FOLLOWS:

COMMENCING AT THE NORTHWESTERLY
CORNER OF SAID WEST HALF OF THE
SOUTHEAST QUARTER;

THENCE FROM SAID POINT OF COMMENCEMENT
SOUTH 01 DEGREE 48' 46" EAST ALONG THE

INDICTMENT — 70

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WESTERLY LINE SAID WEST HALF A DISTANCE
OF 1903.59 FEET TO THE POINT OF BEGINNING;

THENCE FROM SAID POINT OF BEGINNING AND
LEAVING SAID LINE, SOUTH 87 DEGREES 30' 45"
EAST 852.76 FEET;

THENCE SOUTH 75 DEGREES 10' 46" EAST 530.90
FEET TO A POINT ON THE EASTERLY LINE SAID
WEST HALF;

THENCE SOUTH 01 DEGREE 07' 48" EAST ALONG
SAID EASTERLY LINE 549.23 FEET TO THE
SOUTHEASTERLY CORNER OF SAID WEST HALF;

THENCE NORTH 89 DEGREES 08' 05" WEST ALONG
THE SOUTHERLY LINE OF SAID WEST HALF A
DISTANCE OF 516.26 FEET;

THENCE LEAVING SAID LINE NORTH 38 DEGREES
23' 01" EAST 354.28 FEET;

THENCE NORTH 53 DEGREES 46' 06" WEST 340.51
FEET; .

THENCE NORTH 87 DEGREES 30' 45" WEST 799.55
FEET TO A POINT ON THE WESTERLY LINE OF
SAID SOUTHEAST QUARTER;

THENCE ALONG SAID WESTERLY LINE NORTH 01
DEGREE 46' 46" WEST A DISTANCE OF 200.57 FEET
TO THE POINT OF BEGINNING;

EXCEPTING THEREFROM THE 60 FEET WIDE
RIGHT OF WAY OF INDIAN BLUFF ROAD;

SAID PARCEL ALSO BEING DELINEATED AS
TRACT 7 OF THAT CERTAIN SURVEY RECORDED
MAY 13, 1983, UNDER AUDITOR'S FILE NO.
8305130031 IN SURVEY BOOK 29, PAGES 67 AND
68;

SITUATE IN THE COUNTY OF SPOKANE, STATE
OF WASHINGTON.

Tax ID: 25044.9045

INDICTMENT - 71

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C.

D.

Real property known as 1311 South Westcliff Place Unit
#603, Spokane, Washington, Tax ID/Parcel #:
25233.1143, legally described as follows:

UNIT 603, WESTCLIFF SOUTH, A CONDOMINIUM,
AS SHOWN ON SURVEY MAP AND FLOOR PLAN
RECORDED APRIL 11, 1973, IN VOLUME 1 OF
CONDOMINIUMS, PAGES 61 THROUGH 71, UNDER
RECORDING NO. 7304110243 AND IS IDENTIFIED
IN DECLARATION RECORDED MARCH 30, 1973
UNDER RECORDING NO. 7303300336.

Real property known as 4150 Sanderling Circle, #454, Las
Vegas, Nevada 89103, Tax ID/Parcel #: 162-18-616-230,

legally described as follows: -

SPRING OAKS LOT J 28? AMD PLAT BOOK 36 PAGE
63 UNIT 454

BOAT SLIP
1.

The Subleasehold Estate held by WILLIAM MIZE in
certain real property commonly described as Pier 39
Marina, Slip F-14, San Francisco, California, created
pursuant to the Assignment of Sublease by Sublease dated
July 10, 2017 by and between THE LAWRENCE W
STEWART AND CATHY STEWART REVOCABLE
TRUST DATED MARCH 17, 2015, Assignor, and
WILLIAM MIZE, Assignee, recorded in the Official
Records of the City and County of San Francisco, as
Document 2017-K479100-00, for that certain
Memorandum of Sublease dated July 24, 1984, as
executed by PIER 39 LIMITED PARTNERSHIP, a
California Limited Partnership, as Sublessor, and THE
LAWRENCE W STEWART AND CATHY STEWART
REVOCABLE TRUST DATED MARCH 17, 2015, as
Sublessee, and recorded in the Official Records of the City
and County of San Francisco, as Document D527, the
Term of the Sublease expiring September 19, 2034.

BANK/ESCROW ACCOUNT(S)

1.

$148,138.13 in U.S. funds seized by the Internal Revenue
Service-Criminal Investigation pursuant to a federal

INDICTMENT — 72

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seizure warrant on or about May 17, 2018, from Bank of
America account ending in 1577 in the name of
WILLIAM MIZE.

2. $42,692.50 in U.S. funds seized by the Internal Revenue
Service-Criminal Investigation pursuant to a federal
seizure warrant on or about May 17, 2018, from Wells
Fargo Bank account ending in 6918 in the name of
WILLIAM MIZE.

3. $260,000.00 in U.S funds held in escrow by First
American Title Company in account number ending in
0000 at First American Trust, Escrow File #: 4251-3-
56047, seized by the Federal Bureau of Investigation
pursuant to a federal seizure warrant on or about May 23,
2018.

E. CURRENCY

l. $42,147.00 U.S. currency seized by the Federal Bureau of
Investigation pursuant to the execution of a federal search
and seizure warrant on or about May 17, 2018. -

F. CONVEYANCES

1. 2017 Jaguar F-Pace, Washington License Plate BCG0859,
VIN: SADCK2BV9HA074880

2. 2005 Sea Ray VDR 44.8’ fiberglass hull boat, Hull No.:
SEF0657E505, California Registration No.: 1174343,
Vessel Name: Victoria Eve.

3. 2008 Bentley Continental, Washington License Plate
AYE0086, VIN: SCBCP73WX8C054601

147. Pursuant to 18 U.S.C. § 982(a)(1), upon conviction of Monetary

Transactions in Property Derived from Specified Unlawful Activity, in violation of
18 U.S.C. § 1957, set forth in Count 76 of this Indictment, Defendant, SANDRA
VICTORIA TALENTO, shall forfeit to the United States of America, and
property, real or personal, which constitutes or is derived from proceeds traceable
to the violation; and/or pursuant to 18 U.S.C. § 981(a)(1)(A) and 28 U.S.C.

§ 2461(c), Defendant, SANDRA VICTORIA TALENTO, shall forfeit to the

INDICTMENT — 73

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United States of America, any property, real or personal, involved in such offenses,
and any property traceable to such property. The property subject to forfeiture
includes, but is not limited to, the following:

G. MONEY JUDGMENT

1. A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the Monetary Transactions in Property Derived
from Specified Unlawful Activity offense(s).

Ill. DEFENDANT KIMBERLY RITA BOITO
148. Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon

conviction of Mail Fraud, in violation of 18 U.S.C. § 1341, set forth in Counts 10 —
13, 26 — 34, and 61 — 70 of this Indictment; pursuant to 18 U.S.C. § 981(a)(1)(C)
and 28 U.S.C. § 2461(c), upon conviction of Wire Fraud, in violation of 18 U.S.C.
1343, set forth in Counts 14 and 15 of this Indictment; pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of Conspiracy to Commit
Mail Fraud and Wire Fraud, in violation of 18 U.S.C. §§ 1341, 1343, 1346, set
forth in Count 73 of this Indictment; pursuant to 18 U.S.C. § 982(a)(1) and/or
pursuant to 18 U.S.C. § 981(a)(1)(A) and 28 U.S.C. § 2461(c), upon conviction of

Conspiracy to Commit Money Laundering, in violation of 18 U.S.C. §§ 1957,
1956(h), set forth in Count 101 of this Indictment, Defendant, KIMBERLY RITA
BOITO, shall forfeit to the United States of America:

Mail Fraud, Wire Fraud and Conspiracy to Commit Mail and Wire Fraud:

Any property, real or personal, which constitutes or is derived from proceeds
traceable to the offenses;

Conspiracy to Commit Money Laundering:

Any property, real or personal, which constitutes or is derived from proceeds
traceable to the violation; and/or any property, real or personal, involved in
such offenses, and any property traceable to such property;

INDICTMENT — 74

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The property subject to forfeiture includes, but is not limited to, the

following:
A. MONEY JUDGMENT

l, A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the mail fraud offense(s).

2. A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the wire fraud offense(s).

3. A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the Conspiracy to Commit Money Laundering
offense(s).

B. REAL PROPERTY

l. Real property known as 7416 North Birch Court, Spokane,
Washington, Tax ID/Parcel #: 26251.0213, legally
described as follows:

LOT 13, BLOCK 2, PANORAMA TERRACE
ADDITION, ACCORDING TO PLAT RECORDED IN
VOLUME 9 OF PLATS, PAGE 25, IN THE CITY OF
SPOKANE, SPOKANE COUNTY, WASHINGTON.

149. Pursuant to 18 U.S.C. § 982(a)(1), upon conviction of Monetary

Transactions in Property Derived from Specified Unlawful Activity, in violation of
18 U.S.C. § 1957, set forth in Counts 81, 83, 84, 87, 88, 91, 94, 96, 98, 99 of this
Indictment, Defendant, KIMBERLY RITA BOITO, shall forfeit to the United
States of America, and property, real or personal, which constitutes or is derived
from proceeds traceable to the violation; and/or pursuant to 18 U.S.C.

§ 981(a)(1)(A) and 28 U.S.C. § 2461(c), Defendant, KIMBERLY RITA BOITO,
shall forfeit to the United States of America, any property, real or personal,
involved in such offenses, and any property traceable to such property. The

property subject to forfeiture includes, but is not limited to, the following:

INDICTMENT — 75

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C. MONEY JUDGMENT

1. A sum of money in United States currency, representing
the total amount of proceeds obtained by the Defendant as
a result of the Monetary Transactions in Property Derived
from Specified Unlawful Activity offense(s).

IV. DEFENDANTS 3 — 9, 1] — 22
150. Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon

conviction of Mail Fraud, in violation of 18 U.S.C. § 1341, set forth in Counts 1
— 8, 10 — 13, 16, 18 — 24, and 26 —71 of this Indictment; pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of Wire Fraud, in
violation of 18 U.S.C. 1343, set forth in Counts 9, 14, 15, 17, 25 and 72 of this
Indictment; pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon
conviction of Conspiracy to Commit Mail Fraud and Wire Fraud, in violation of
18 U.S.C. §§ 1341, 1343, 1346, set forth in Count 73 of this Indictment;
pursuant to 18 U.S.C. § 982(a)(1) and/or pursuant to 18 U.S.C. § 981(a)(1)(A)
and 28 U.S.C. § 2461(c), upon conviction of Monetary Transactions in Property
Derived from Specified Unlawful Activity (SUA) in violation of 18 U.S.C.
§ 1957 as set forth in Counts 75 — 100; pursuant to 18 U.S.C. § 982(a)(1) and/or
pursuant to 18 U.S.C. § 981(a)(1)(A) and 28 U.S.C. § 2461(c), upon conviction

of Conspiracy to Commit Money Laundering, in violation of 18 U.S.C.
§§ 1957, 1956(h), set forth in Count 101 of this Indictment, the below-listed
Defendants shall forfeit to the United States of America:

Mail Fraud, Wire Fraud and Conspiracy to Commit Mail and Wire Fraud:

Any property, real or personal, which constitutes or is derived from proceeds
traceable to the offenses;

Conspiracy to Commit Healthcare Fraud:

Property, real or personal, that constitutes or is derived, directly or
indirectly, from gross proceeds traceable to the commission of the
offense(s);

INDICTMENT — 76

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Monetary Transactions in Property Derived from Specified Unlawful

Activity (SUA) and Conspiracy to Conduct Monetary Transactions in

Property Derived from SUA:

_ Any property, real or personal, which constitutes or is derived from proceeds
traceable to the violation; and/or any property, real or personal, involved in
such offenses, and any property traceable to such property;

The property subject to forfeiture includes, but is not limited to, the

following:
Defendant Count(s) Asset(s) to be forfeited
WILLIAM 4—5, 73, 74 Money Judgment: A sum of money in
OLDHAM United States currency, representing
MIZE the total amount of proceeds obtained
(“MIZE [-3]”) by the Defendant as a result of the
mail fraud offense(s), wire fraud
offense(s) and conspiracy to commit
healthcare fraud offense(s).
ANGELA 7-9, Money Judgment: A sum of money in
DAWN TARDY 61 — 70, United States currency, representing
73-74 the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s), wire fraud
offense(s), and conspiracy to commit
healthcare fraud offense(s).
RYAN FOLKS 10-17, 19- Money Judgment: A sum of money in
PARK 24, 26 - 34, United States currency, representing
36 — 46, 61 — the total amount of proceeds obtained
70, 73 — 75, by the Defendant as a result of the
78, 89 — 90, mail fraud offense(s), wire fraud
101 offense(s), conspiracy to commit

healthcare fraud offense(s), monetary
transactions in property derived from
specified unlawful activity offense(s),
and conspiracy to conduct monetary

transactions in property derived from
specified unlawful activity offense(s).

INDICTMENT — 77

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MISAEL 6-15, 18, Money Judgment: A sum of money in
REYES- 35 — 38, United States currency, representing
TAJIMAROA 47-51, the total amount of proceeds obtained
73 — 74, by the Defendant as a result of the
77, 82, 86, mail fraud offense(s), wire fraud
92 — 93, offense(s), conspiracy to commit
101 healthcare fraud offense(s), monetary
transactions in property derived from
specified unlawful activity offense(s),
and conspiracy to conduct monetary
transactions in property derived from
specified unlawful activity offense(s).
JESSICA 19 — 24, Money Judgment: A sum of money in
ALEXANDRA 73, 79 - United States currency, representing
GONZALEZ 80, 82, 85, the total amount of proceeds obtained
95, 101 by the Defendant as a result of the
mail fraud offense(s), monetary
transactions in property derived from
specified unlawful activity offense(s),
and conspiracy to conduct monetary
transactions in property derived from
specified unlawful activity offense(s).
BONNEY 10-13, Money Judgment: A sum of money in
JEAN 36 — 38, United States currency, representing
BONNEY 47 —51, the total amount of proceeds obtained
73 by the Defendant as a result of the
mail fraud offense(s).
BRITTANY J. 47-51, Money Judgment: A sum of money in
HARRIS 73-74 United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s) and conspiracy
to commit healthcare fraud offense(s).
CHRISTOPHER 6, 52 — 60, Money Judgment: A sum of money in
JOSEPH 73 United States currency, representing
FRANGELLA the total amount of proceeds obtained

by the Defendant as a result of the
mail fraud offense(s).

INDICTMENT — 78

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RICHARD
RONALD
WELLS

47 — 60,
73, 97,
100

101

Money Judgment: A sum of money in
United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s), monetary
transactions in property derived from
specified unlawful activity offense(s),
and conspiracy to conduct monetary
transactions in property derived from
specified unlawful activity offense(s).

ALEXANDER
ARCEO

47-51,
73 - 74

Money Judgment: A sum of money in
United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s) and conspiracy
to commit healthcare fraud offense(s).

RAUL A.
GONZALEZ

1-3, 19-
24, 73

Money Judgment: A sum of money in
United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s).

TERESA ANN
GONZALEZ

39 — 46,
73

Money Judgment: A sum of money in
United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s).

MICHELE LEE
SMITH

18, 39 -
46, 73

Money Judgment: A sum of money in
United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s).

MATTHEW
DAVID
CARTER ©

36 — 38,
61 ~ 70,
73

Money Judgment: A sum of money in
United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s).

INDICTMENT — 79

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JOSE 35, Money Judgment: A sum of money in

EVERARDO 73-74 United States currency, representing

MEZA- the total amount of proceeds obtained

AMEZCUA by the Defendant as a result of the
mail fraud offense(s) and the
conspiracy to commit healthcare fraud
offenses.

STEPHANIE 1 —3, 73 Money Judgment: A sum of money in

STOCK United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s).

MICHAEL 26 — 34, Money Judgment: A sum of money in

ADAM WHITE 71, 73 United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s).

JASON ALLAN 19 — 24, Money Judgment: A sum of money in

WESTFALL 73 United States currency, representing
the total amount of proceeds obtained
by the Defendant as a result of the
mail fraud offense(s).

RANDY CARL 71, Money Judgment: A sum of money in

SHARP 73-74 United States currency, representing

the total amount of proceeds obtained
by the Defendant as a result of the

mail fraud offense(s) and conspiracy
to commit healthcare fraud offenses.

151. With regard to substitute assets, if any property subject to forfeiture
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), as a result of any

act or omission of the Defendant(s):

cannot be located upon the exercise of due diligence;

a
b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

INDICTMENT — 80

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e.

has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated

by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of said Defendants

up to the value of the forfeitable property described herein, all pursuant to 18
U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

151. With regard to healthcare fraud allegations, if any property subject for
forfeiture pursuant to 18 U.S.C. § 982(a)(7), as a result of any act or omission of
the Defendant(s):

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States of America, pursuant to 21 U.S.C. § 853(p), as

incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c), to seek forfeiture

of any other property of said Defendants up to the value of the forfeitable property

described herein, all pursuant to 18 U.S.C. § 982(a)(7) and 28 U.S.C. § 2461(c).
152. Ifany property subject for forfeiture pursuant to 18 U.S.C.

§ 982(a)(1), as a result of any act or omission of the Defendant(s):

a
b.

a 9

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided

without difficulty;

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it is the intent of the United States of America, pursuant to 21 U.S.C. § 853(p), as
incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c), to seek forfeiture
of any other property of said Defendants up to the value of the forfeitable property
described herein, all pursuant to 18 U.S.C. § 982(a)(1) and 28 U.S.C. § 2461(c).

153. Ifany property subject for forfeiture pursuant to 18 U.S.C.
§ 981(a)(1)(A) and 28 U.S.C. § 2461(c), as a result of any act or omission of the
Defendant(s):

cannot be located upon the exercise of due diligence;

a
b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. __ has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States of America, pursuant to 21 U.S.C. § 853(p), as
incorporated by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of
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said Defendants up to the value of the forfeitable property described herein, all
pursuant to 18 U.S.C. § 981(a)(1)(A), 28 U.S.C. § 2461 (c), and 21 U.S.C.

§ 853(p).
DATED this / ye day of December, 2018.

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Jéseph H. Harri

4 United States Attorn

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Georg aorg e] 1.C JacobsAII
Assistant United States Attorney

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